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Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 1 of 52

J. Curtis Edrnondson, CSB# 236105
15490 NW Oak Hills Drive
Beaverton, OR 97006

Phone: 503-701-9719

Fax: 503-214-8470

Email: icedmondson@edmolaw.com

Attorney for Defendant(s) DOE.

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

CP PRODUCTIONS, INC., ) Case No.: Z:lZ-CV-006l6(WBS)(JFM)
)
Plaintiff, ) DOE’s MOTION TO QUASH AND/OR
) FOR A PROTECTIVE ORDER
vs. )
) Hon. William B. Shubb
UNKNoWN, )
) Hearing Date: July 5, 2012
Defendant. ) Hearing Time: 2pm
)
) ORAL ARGUMENT REQUESTED

 

 

 

TO ALL COUNSEL AND THEIR ATTORNEY’S OF RECORD:

Pursuant to the Federal Rules of Civil Procedure and the inherent power of this Court,
located at the Sacrarnento Division of the Eastern District of California, in front of Hon. Judge
William B. Shubb or Magistrate Judge John F. Moulds, Defendant DOE does hereby move that
this Court quash the subpoena Served on Charter Cornmunications to those Defendants that lie
outside the Eastern District of California and to issue a protective order preventing demand
letters from being sent to the defendants listed on Exhibit B of plaintiti’ s Cornplaint.

This motion Will be based on this notice, the relevant statutes, and the argument presented

herein.

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Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 2 of 52

ISSUES PRESENTED
l. Should this Court quash the subpoenas for the BitTorrent addresses that lie outside this

Judicial District?

2. Should this Court issue a protective order so that the defendants may proceed as “DOES”

until judgment is entered?

3. Should this Court issue a protective order so that the personal information of the alleged
“co-conspirators” of defendant is not turned over to plaintiff until defendant’s liability

has been established?

INTRODUCTION

This case is about the unfort\mate intersection of intemet copyright infringement,
pornography,' and an economic business model. On one hand, CP Productions, lnc. complains
that the DOE has caused them economic damage. On the other hand, the DOE, once named, Will
be publicly connected to the pornography industry. This is of no concern to CP Productions, Inc.
Which is their course in trade. To the DOE, it is a modern day version of Hawthornc’s “The
Scarlet Letter”.

At issue is the file-sharing program “BitTorrent”. BitTorrent is a content neutral file

distribution program. See http://WWW.bittorrent.com/company/about. BitTorrent is remarkably

 

efficient at transferring large files, Whether infringing or not. BitTorrent is efficient because it is

a bit like the “Star Trek” transporter - disassembling parts of the file at the source and

DOR'S MQTION TO QUASH OR FOR A PROTECTIVE ORDER
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Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 3 of 52

reassembling them at the destination Each smaller piece is transported by a “node computer”.
A good discussion of the technology can be found at:
http://comr)uter.howstuffworks.com/bittorrent.htm .

For CP Productions, lnc. to bring a claim against DOE for infringement, it must first
identify the “seed” file linked to the infringed work. Then CP Productions, Inc. must install a
piece of software that “monitors” the transfer of data in the internet to determine the lP address
of the “seed file” that was used by DOE. 'l`hen CP Productions, lnc. collects the IP addresses
and determines where DOE is located using “geolocation” software Complaint, EX B.

The business side of this case involves the use of mass joinder and the threat of litigation
to extract settlements (typically $2-3K). l\/Iass joinder to make money is not a new concept in
California. The Trevor Law Group used a similar technique to extract settlements at the
beginning of this century. People ex rel. Lockyer v. Brar, 115 Cal. App. 4th 1315, 1316-1317
(Cal. App. 2004); see also Molskz` v. Mandarin Touch Restaurant, 347 F. Supp. 2d 860, 867
(C.D. Cal., 2004).

From reading plaintiff s Complaint, however, it is not entirely clear whether CP
Productions is suing all of the individuals associated with the lP addresses CP Productions lists
on Exhibit B of its Complaint as co-conspirators to the alleged infringement or whether they are
only suing a single John Doe dcfendant. To cover both possibilities, this Motion to Quash argues
both improper joinder (if multiple defendants are being sued) as well as for a protective order to
prevent the ISPs listed in Exhibit B of plaintiffs Complaint from disclosing to plaintiff the
contact information for any of the individuals associated with the IP addresses in EXhibit B of
plaintiffs Complaint until liability on the part of the Defendant (if only one defendant is being

sued).

DOE'S MOTION TO QUASH OR FOR A PROTECTIVE ORDER
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Case 2:12-ev-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 4 of 52

Furthermore, CP Produetions, lne.‘s Complaint fails to plead what specific technology is
used to determine if that specific IP address is infringing For example, the Piatek article
illustrates the problem of false positives. (This article is provided for the Court’s reference and

review).

1. The Court should quash subpoenas for IP addresses that lie outside this judicial

district in the interests of judicial economy.

This Court has the discretion to quash subpoenas that would disclose confidential
information Fed. R. Civ. P. 45(e)(3)(B). Further, Fed. R. Civ. P. 26(c)(l) allows a protective
order to issue that protects a person from annoyanee, embarrassment, oppression, or undue
burden or expense. Fed. R. Civ. P. 20(a) allows for permissive joinder, but failure to join all
parties does not result in a jurisdictional defeet. Coleman v. Quaker Oats Company, 232 F.3d
1271, 1296 (9th Cir. 2000).

Additionally, requests for pseudonymity have been granted when anonymity is necessary
to preserve privacy in a matter of a sensitive and highly personal nature. See Does 1 Thru XXIII
v. Advanced Textz`le Corp., 214 F.3d 1058, 1068 (9th Cir. 2000). An allegation that an individual
illegally downloaded adult entertainment likely goes to matters of a sensitive and highly personal
nature.

Joinder fails to promote trial convenience and expedition of the ultimate determination of
the substantive issues in this case. See Pac. Century Int’l, 2011 U.S. Dist. LEXIS 124518, 2011
WL 5117424, at *3 (deseribing the “logistieal nightmare” of joining 101 Doe defendants in such

an aetion). Though the 590 Doe defendants may have engaged in similar behavior, they are

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Case 2:12-ev-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 5 of 52

likely to present different defenses See BMG Music v. Does ]-203, No. Civ. A. 04-650, 2004
U.S. Dist. LEXIS 8457, 2004 WL 953888, at *1 (E.D. Pa. Apr. 2, 2004). As one court noted,
“Comeast subscriber John Doe 1 could be an innocent parent whose internet access was abused
by her minor ehild, while J on Doe 2 might share a computer with a roommate who infringed
Plaintiffs’ works. John Does 3 through 203 could be thieves, just as Plaintiffs believe.” Id.

Other courts have found misjoinder in similar copyright infringement cases. See, e.g.,
Pac. Century Int’l, Ltd. V. DOeS ]-]01, No C ll-02533 DMR, 2011 U.S. Dist. LEXIS 124518,
2011 WL 5117424, at *3 (N.D. Cal. Oet. 27, 2011)1. These courts have found allegations that
BitTorrent users downloaded the same copyrighted files were insufficient to support mass
joinder.

It is not unclear from Plaintiff’s pleadings why discovery is needed on the defendants’
identities unless it is to send threatening letters indicating that defendants are liable for
infringement Assuming this is true, it is clear from the Plaintiff’ s own pleadings that the
majority of the purported defendants or third parties may live hundreds of miles from this
eourtroom. For example, the online geolocation software

(http://www.ipliggnce.corn/geolocation) demonstrates that the first five IP addresses are from:

IP Address # City Court Jurisdiction
108.0.161.125 Cerritos CD Cal
108.0.190.107 Walnut CD Cal
108.0.218.138 Long Beach CD Cal

 

l See also: Diaboll`c Video Proa's. v. Does 1-2099, No. C 10-5865 PSG, 2011 U.S. Dist. LEXIS 58351, at *9 (N.D.
Cal. l\/lay 31, 2011);

Pac. Century Int’l, Ltal v. Does ]-]01, No C 11-02533 DMR, 2011 U.S. Dist. LEXIS 73837, 2011 WL 2690142, at
*2-*4 (N.D. ear Jui. 8, 2011);

IO Group, lnc. v. Does 1-435, No. C 10-4382 Sl, 2011 U.S. Dist. LEXIS 14123, 2011 WL 445043, at *3-*6 (N.D.
Cal. Feb. 3, 2011);

On The Cheap, LLC v. Does 1-5011, No. C 10-4472 BZ, 2011 U.S. Dist. LEXIS 99831, 2011 WL 4018258, at *2
(N.D. Cal. Sept. 6, 2011)

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Page 5

 

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Case 2:12-ev-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 6 of 52

108.0.220.152 Long Beach CD Cal
108.13.3.56 Huntington Beach CD Cal

* These lP addresses were recheeked with “lnfosniper”.

Not one of the above IP addresses points to Eastern District of California, a fact that

plaintiff could easily have learned prior to filing their complaint Given that plaintiff was able to

use geolocation technology to determine that the Unknown Defendant lives specifically in
Sacramento, CA (see Complaint, Exhibit A), it is curious that plaintiff did not use that same
technology to determine the city (and hence the jurisdiction) of the alleged eo-conspiritors
(Exhibit B). In any ease, it is clear that CP Productions, lnc. is asking this Court to draw in
defendants from all over the state of California for this matter. This court should, in the very
least, only allow CP Productions, lnc. to proceed on defendants that are within this judicial

district

2. Defendants should not be allowed to threaten DOE defendants With litigation
unless the Complaint is amended or DOEs are joined.
“[U]nder Rule 26(0), the Court may sua ponte grant a protective order for good cause
showii.” McCoy v. SouthwestAirlines Co., Inc., 211 F.R.D. 381, 385 (C.D. Cal. 2002). The

Court issues the limited protective order described below because the lSP subscribers may be

innocent third parties, the subject matter of the suit deals with sensitive and personal matters, and

the jurisdictional and procedural complications might otherwise dissuade innocent third parties

from contesting the allegations

DOE'S MOTION TO QUASH oR FoR A PROTECTIVE ORDER
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Case 2:12-ev-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 7 of 52

I-lere, as has been previously discussed by other courts in this district, the ISP subscribers
may not be the individuals who infringed CP Productions, lnc.‘s copyright See, e.g., Pac.
Cenl‘ury Inl‘ ’l, 2011 U.S. Dist. LEXIS 124518, 2011 WL 5117424, at *2; see also IO Group, lnc.
v. Does ]-]9, No. C 10-03851 SI, 2011 WL 772909, at *l (N.D. Cal. Mar. 1, 2011) (granting the
plaintiff additional time to identify and serve the true defendant thre a subscriber asserted that
he did not infringe plaintiffs work, suggesting that someone else used his IP address to infringe
the plaintiff s work, and the plaintiff claimed that it needed to take third-party discovery from the
subscriber to try to identify who actually used the subscriber’s IP address to allegedly infringe
the plaintiff s work).

Clearly, the privacy interests of innocent third parties weighs heavily against the public’s
interest in access to court documents See Gardner v. Newsday, Inc., 895 F.2d 74, 79-80 (2d Cir.
l 990).

A protective order is an equitable and fair way to allow CP Productions, lnc. to litigate
their rights and for potentially innocent third parties to not have their names sullied as potential
defendants Therefore, Plaintiff should not be permitted to access their contact information or

send them threatening letters demanding settlement

3. Plaintiffs should not require the ISPs to turn over the personal information of
the nonparties in this case until the Defendant’s liability has been determined or
until the nonparties have been directly charged under some theory of liability.

If the individuals associated with the lP addresses listed on Exhibit B of plaintiffs

Complaint are nonparties to this case, CP Productions has no legitimate need for their contact

information to pursue its copyright infringement claim against Unknown Defendant, especially

given that Unknown Defendant’s liability has not yet been established at this time.

DOE's MOTION TO QUASH OR FOR A PROTECTIVE ORDER
Page 7

 

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Case 2:12-ev-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 8 of 52

Furthermore, allowing plaintiff access to the nonparties’ contact information will make
those nonparties vulnerable to loss of reputation as well as plaintiff s shakedown tactics even
though they have not been charged in any fashion under any theory of liability.

Here, Plaintiff s eounsel, via phone conversation, stated that the parties on Exhibit B of
Plaintiff s Complaint are not liable for infringement Therefore, they should not receive letters

threatening them with copyright infringement and requesting settlement in the amount ranging

from $3,000 to $4,000.

Conclusion
Given the nature and types of these cases, the Court should be extra diligent in protecting
the identities of the defendants Therefore DOE respectfully requests that this Court quash the
subpoena for all members who live outside this judicial district and issue a protective order so

that their true identities are not produced until a final judgment is entered against them.

/x/ J. Curtis Edmondson

May 24, 2012

DOE’S MOTION TO QUASH OR FOR A PROTECTIVE ORDER
Page 8

 

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Case 2:12-ev-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 9 of 52

Declaration of J. Curtis Edmondson in the Motion to (hash
l, J. Curtis Edmondson, declare this to be true under penalty of perjury, pursuant to 28
U.S.C. 1746 on the date set forth at my signature below:

1. I am an attorney licensed to practice in the State of California and have been admitted
to the bar of the Eastern District of California. l am counsel of record in this matter.

2. l represent a number of defendants who reside outside this judicial district These
defendants are collectively named “DOE” to prevent their names being associated
with pornography

3. ln this brief, I used two internet based software programs to determine the
“geolocation” of the first five lP addresses in the complaint

4. My background is in electrical engineering and l am a member of the patent bar. l
believe l am competent to testify on my use of the aforementioned geolocation
programs and to testify about computer technologies (BitTorrent) in general.

5. On May 24th, l called and spoke with Brett L. Gibbs about this case. l asked him if
the parties on Exhibit “B” of the Complaint are considered liable for copyright

infringement He said they were not

l declare under penalty of perjury under the laws of the state of California that the
foregoing is true and correct

Executed this 24th day of May, 2012, at Beaverton, Oregon.

/x/ J. Curtis Edmondson

Declarant

DOE'S MOTION TO QUASH OR FOR A PROTECTIVE ORDER
Page 9

 

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Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 10 of 52

Declaration of William Petillo in the Motion to Ouash

 

I, William Petillo, declare this to be true under penalty of perjury, pursuant to 28 U.S.C.
1746 on the date set forth at my signature below:
l. l am currently enrolled in the Paralegal Program at Portland Community College. l have
been working as an office assistant for J. Curtis Edmondson since August 2011.

2. On May 23, 2012, in the process of assisting J. Curtis Edrnondson in preparing this brief,
l entered the first five IP addresses listed on Exhibit B of plaintiff s Complaint into
www.infosniper.net, a website that provides free geolocation. The results of these
searches are included in this Motion.

3. On May 24, 2012, at approximately 10:45am and over the course of about 10 minutes, l
overheard a telephone conversation between J. Curtis Edmondson and Brett L. Gibbs.
Although l could only hear what J. Curtis Edmondson was saying, it was obvious from
context that Brett L. Gibbs had expressed that the individuals associated with the IP

addresses listed in Exhibit B of plaintiffs Complaint are not parties to this case.

I declare under penalty of perjury under the laws of the state of Califomia that the
foregoing is true and correct

Executed this 24th day of May, 2012, at Beaverton, Oregon.

/x/ William Petillo

Declarant

DOE’S MOTION TO QUASH OR FOR A PROTECTIVE ORDER
Page 10

 

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Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 11 of 52

PROOF OF SERVICE

l hereby certify that on May 24, 2012, a copy of the foregoing was filed by Cl\/I/ECF with the
Civil Clerk at the Eastem District of Califomia.

The following will receive a copy of the foregoing by electronic copy:
Motion to Quash

Brett L. Gibbs, Esq.
Prenda Law, lnc.

38 Miller Avenue, #263
Mill Valley, CA 94941
415-325-5900
blgibbs@wefightpiracy.com

Dated: 5/24/2012 Respectfully Submitted,

J. Curtis Edmondson

Law Offices of J. Curtis Edmondson
15490 NW Oak Hills Drive
Beaverton, OR 97006

(503) 701-9719 ph

(503) 214-8470 faX

Attorney for Defendant DOE

 

DOE’S MOTION TO QUASH OR FOR A PROTECTIVE ORDER
Page 11

 

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Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 12 of 52

EXHIBIT A

DOE’S MOTION TO QUASH OR FOR A PROTECTIVE ORDER
Page 12

 

Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 13 of 52

Challenges and Directions for Monitoring P2P File Sharing Networks
__ or ..
Why My Printer Received a DMCA Takedown Notice

Michael Piatek*

AbStract_ We reverse engineer copyright enforcement
in the popular BitTorrent file sharing network and find
that a common approach for identifying infringing users
is not conclusive We describe simple techniques for im-
plicating arbitrary network endpoints in illegal content
sharing and demonstrate the effectiveness of these tech-
niques experimentally, attracting real DMCA complaints
for nonsense devices, e.g., lP printers and a wireless ac-
cess point We then step back and evaluate the challenges
and possible future directions for pervasive monitoring in
P2P file sharing networks

1 Introduction

Users exchange content via peer-to-peer (PZP) file shar-
ing networks for many reasons, ranging from the legal
exchange of open source Linux distributions to the ille-
gal exchange of copyrighted songs, movies, TV shows
software, and books The latter activities however, are
perceived as a threat to the business models of the copy-
right holders [1],

To protect their content, copyright holders police P2P
networks by monitoring P2P objects and sharing behav-
ior, collecting evidence of infringement and then issu-
ing to an infringing user a so-called Digital Millennium.
Copyrz`ght Act (DMCA) takedown notice These notices
arc formal requests to stop sharing particular data and
are typically sent to the ISPs corresponding to the IP ad-
dresses of allegedly infringing users

The combination of large-scale monitoring of P2P net~
works and the resulting DMCA complaints has created
a tension between P2P users and enforcement agencies
Initially, P2P designs were largely managed systems that
centralized key featuresiwhile cxtemalizing distribution
costs, e.g., Napster’s reliance on a centralized index of
pointers to users with particular 'liles. l_,egal challenges to
these early networks were directed towards the singular
organization managing the system. In contrast to these
managed systems currently popular P2P networks such
as Gnutella and BitTorrent are decentralized protr)col.s‘
that do not depend on any single organization to manage
their operation For these networks legal enforcement
requires arbitrating disputes between copyright holders
and P2P users directly.

‘ Dept. of Computer Science and Engineering, Univ. of Washington,
E-mails: piatek@cs . washington .eo`u, yosni@cs washington .
edu_ arvind@cs washington .odn. Additional information about this
paper is available at `nttp: //'dnca . cs . washington . edu/.

Tadayoshi Kohno *

Arvind Krishnamurthy*

The focus of this paper is to examine the tension be-
tween P2P users and enforcement agencies and the chal-
lenges raised by an escalating arms race between them.
We ground this work in an experimental analysis of the
methods by which copyright holders currently monitor
the BitTorrent file sharing network Our work is based on
measurements of tens of thousands of BitTorrent objects
A unique feature of our approach is that we intentionally
try to receive DMCA takedown notices, and we use these
notices to drive our analysis

Our experiments uncover two principal findings

o Copyright holders utilize inconclusive methods for
identifying infringing BitTorrent users We were able
to generate hundreds of DMCA takcdown notices for
machines under our control at the University of Wash-
ington that were not downloading or sharing any con-
tent

o We also find strong evidence to suggest that current
monitoring agents are highly distinguishable from reg-
ular users in the BitTorrent P2P network Our re-
sults imply that automatic and fine-grained detection
of monitoring agents is feasible, suggesting further
challenges for monitoring organizations in the future.

These results have numerous implications To sample
our results based on the inconclusive nature of the cur-
rent monitoring rnethods, we find that it is possible for a
malicious user (or buggy software) to implicate (frame)
seemingly any network endpoint in the sharing of copy-
righted materials We have applied these techniques to
frame networked printers7 a wireless (non-NAT) access
point, and an innocent desktop coinputer, all of Which
have since received DMCA takedown notices but none
of which actually participated in any P2P network.

Based on these observations we then explore how the
arms race between content consumers and monitoring
organizations might evolve and what challenges would
arise for both parties We explicitly do not take sides
in this arms race. Rather, we take special care to be in-
dependent and instead consider methods by which both
users and monitoring organizations could advance their
interests Our goal is to provide a foundation for under-
standing and addressing this arms race from both per-
spectives While couched in the context of the sharing of
copyrighted content, we also believe that our results and
directions will become more broadly applicable as new
uses for P2P tile sharing networks evolve.

Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 14 of 52

 

 

 

Complaint type Totals
T race Movie Music Television Software Books Mixed Complaints Swarms obs.
August, 2007 82 0 11 18 11 0 122 55,523
May, 2008 200 0 17 46 0 18 l 28 l 27,545

 

Table l: DMCA takedown notices received during our BitTorrent experiments All are false positives.

2 Background

BitTorrent overview: BitTorrent is a P2P file dis-
tribution tool designed to replace large file downloads
over HTTP. Rather than downloading a large file directly,
a BitTorrent user instead downloads a small torrent tile
which contains metadata regarding the original file(s),
e.g., names and sizes, as well as the address of a coordi-
nating tracker for the swarm. The tracker is a rendezvous
service for peers in a particular swarm, providing a ran-
dom set of active downloaders upon request New users
register with the tracker, advertising their status as a po-
tential peer, and connect to the set of peers returned by
the tracker to begin exchanging data. BitTorrent peers
distribute small blocks that comprise the original file.
Ideally, a user with a complete copy of the file need only
send each block to a few peers and the rest of the distri-
bution will be performed by the swann

DMCA Enforcement: At present, DMCA takedown
notices are the principle mechanism used for enforcing
copyright on the Iutemet in the Uuitcd Statcs. DMCA
notices arc sent to ISPs when monitoring agencies de-
tect alleged infringement Separate and less frequently
used mechanisms are actual legal prosecutions and “pre-
scttlement” letters that inform users of plans for prose-
cution if a settlement payment is not made. To date7 we
have not received any pre-settlement letters as a result of
our experiments

Takedown notices generally include the date and time
of an observation, metadata for the infringing file, and
the IP address of the infringing host Network operators
then respond to the complaint often forwarding it (if pos-
sible) to the user identified by the network information

A key question for understanding the enforcement pro-
cess is: how are infringing users identified? We consider
two options for detection in BitTorrent:

o Indirect detection of infringing users relies on the set
of peers returned by the coordinating tracker only,
treating this list as authoritative as to whether or not

IPs are actually exchanging data within the swarm.

Direct detection involves connecting to a peer reported
by the tracker and then exchanging data with that peer.
Direct detection has relatively high resource require-
ments a topic we revisit in Section 6.

While direct detection is more conclusive and is the
stated approach for monitoring the Gnutella P2P network
by at least one content enforcement agency [1 l], we lind

that many enforcement agencies instead use indirect de-
tection when monitoring BitTorrent

3 Data Sources and Methodology

Our understanding of copyright enforcement in BitTor-
rent is based on measurement and analysis of tens of
thousands of live BitTorrent swarms and the DMCA
complaints these measurements attracted To gather a
set of candidate swarms to monitor, we continuously
crawlerl popular websites that aggregate torrent metadata.
For each observed swarm, our instrumented BitTorrent
clients contacted the associated tracker, requesting a set
of bootstrapping peers. These requests were repeated for
each swann every 15 minutes from 13 vantage points at
the University of Washington. Crucially, querying the
tracker for a set of bootstrapping peers allowed us to de-
termine membership in swarms and advertise our pres~
ence as a potential replica without z.tploadihg or down-
loadng any file data whatsoever

The process of collecting these traces generated many
DMCA takedown notices; these are summarized in Ta-
ble l. Our initial trace (August, 2007) was collected
in support of a separate measurement study of BitTor-
rent [9]. During this prior work, we viewed DMCA
complaints as an annoyance to be avoided More re~
cently, the realization that we had managed to attract
complaints without actually downloading or uploading
any data prompted us to revisit the issue. Analyzing the
complaints in more detail, we were surprised to find mul-
tiple enforcement agencies sourcing takedown notices
for different content demonstrating that spurious com-
plaints (for machines that were not actually infringing)
were not isolated to a single agency (or industry).

In May, 2008, we conducted a new measurement study
of BitTorrent aimed at answering two questions First,
has the enforcement approach changed ? We find that it
has not; we continue to receive DMCA complaints even
in the absence of data sharing Our second question is:
can a malicious user falsely implicate a third party in
copyright infringement? We find that framing is possible
given the monitors` current use of indirect detection of
infringing users, a topic we discuss next.

4 False Positives with Indirect Detection

The main weakness in current methods of detecting
copyright infringement in BitTorrent appears to be the
treatment of indirect reports as conclusive evidence of

Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 15 of 52

 

Host type Number of complaints
Desktop machine (1) 5
IP Printers (3) 9
Wireless AP (1) 4

Table 2: False positives for framed addresses

participation We now describe how the use of indirect
reports exposes monitoring agents and innocent users to
attacks from malicious users attempting to implicate oth-
ers. We verify one variant of this family of attacks exper-
imentally and quantify its effectiveness in the wild.

4.1 The Misreporting Client Attack

The first request from a BitTorrent client to a tracker
serves two purposes First, it elicits a response that pro-
vides the newly joined client with an initial set of peers
with which to exchange data. Second. the request noti-
fies the tracker that a new peer is available and can be
listed in responses to future requests By default, Bit-
Torrent trackers record the source IP address from the
request as the actual address of the peer to be delivered
to others But, some BitTorrent tracker implementations
support an optional extension to the peer request message
that allows requesting clients to specify a differenth ad-
dress that the tracker should record in its list of peers
instead This is intended to provide support for proxy
servers and peers/trackers behind the same NAT. But,
when combined with the lack of veriticati on of tracker re-
sponses by monitoring agents, this extension also allows
malicious clients to frame arbitrary IPs for infringement
via a simple IITTP request We refer to this behavior as
the misreporting client attack A sample HTTP request to
frame a target lP address A.B.C.D, after standard parsing
of the relevant torrent metadata, is as follows:
wget 'http:.//torrentstorage.ccn/announce.php
?inro_hash=%csanocasraaz4%28%86% sass%nz-%ccs
BD%OA%Dl%M%EE%G§i%1OV&peer_id=-AZZ504~tUalhr
.:pthq&port=55746&upload@d={)&clownloaded=()-&lo
ft=36603904'0&event=started&numwa:rt=BO&no_pee
r__id=l&compac't=l.&ip=;\_.B.C.D&key'=NfB§‘oSCo'

We designed our May, 2008 experiments to examine
the effectiveness of this attack in the wild today. For
each tracker request issued by our instrumented clients,
we included the option for manually specifying a client
IP to frame, drawing this lP randomly from a pool of lPs
at the University of Washington. Each framed IP was
under our direct control and none were engaged in any
infringing activity. These addresses include printers, a
wireless access point, and an ordinary desktop machine.
As a consequence of our spoofed requests, all of these
devices attracted complaints (as summarized in Table 2).
Wc also attempted to frame two IP addresses for which
no machines were associated; these IP addresses were
not remotely pingable and we did not receive any com-
plaints for these IP addresses

Although successful, the yield of misreporting client
attack is low. Of the 281 complaints generated by our
May, 2008 trace, just 18 of these were for IPs that we
were attempting to implicate The remaining major-
ity were targeted at the lP addresses from which we
launched our spoofed requests Yield was low with our
initial experiments because we did not know a priori
which trackers support the protocol extension required
for IP spooiing. Those that do not simply disregard that
portion of the request message and instead record the TP
source address of the request message Thus, the effec-
tiveness of the vanilla misreporting client attack, as de-
scribed above, depends on what fraction of swarms can
be spoofed.

We can compute this fraction using our measurements
In addition to implicating IPs continuously, we also
record swarm membership continuously Because we
know that our framed IPs did not participate in BitTor-
rent swarms, observing any framed IP in the set of peers
returned by a tracker indicates that the given tracker (and
swaim) support spoofed addresses Over the duration of
our trace, we observed our framed IPs in 5.2% of all
swarms, suggesting that the limited yield of the misre-
poiting client attack is simply the result of a small frac-
tion of swarms supporting spooling as opposed to any
sanity checks that might detect spoofed IPs

More sophisticated variants of our attacks could route
the HTTP requests through a proxy or anonymization
service like Tor, and could also target only those trackers
that support spoofed addresses

4.2 Additional sources of false positives

Our experiments confirm that a malicious user can impli-
cate arbitrary IPs in illegal sharing today, But, the misre-
porting client attack is not the only source of false posi~
tives possible given the current approach to enforcement

Misreporting by trackers: The most straightforward
way to falsely implicate an IP address in infringement
is for the coordinating tracker to simply return that IP
address as a peer regardless of participation Since
the torrent rnetadata files that specify trackers arc user-
generated, a malicious user can frame arbitrary IPs sim‘
ply by naming his own niisreporting tracker during the
creation of the torrent and then uploading that torrent to
one of the many public aggregation websites that we (and
enforcement agencies presumably) crawl. From the per-
spective of users downloading the file, such a malicious
tracker would seem no different than any other.

Mistimed reports: A tracker need not be malicious to
falsely implicate users Consider the following scenario
Bob participates in an infringing BitTorrent swaim from
a laptop via WiFi with an IP address assigned via DHCP,
e.g., at a university or coffee shop. Bob then closes his
laptop to leave, suspending his BitTorrent client with-

Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 16 of 52

out an orderly notification to the tracker that he has
left. Some time later, Alice joins the same WiFi net-
work and, due to the DHCP timeout of Bob’s IP, Alice
receives Bob’s former address Simultaneously, a mon-
itoring agent queries the tracker for the swann Bob was
downloading and the tracker reports Bob’s former IP. The
monitoring agent then dispatches a DMCA notice to the
ISP running the WiFi network naming Bob’s IP but with
a timestamp that would attribute that IP to Alice, a false
positive. Whether this is a problem in practice depends
on the relative timeouts of BitTorrent trackers and DHCP
leases neither of which is lixed. In a university environ-
ment in 2007, DHCP lease times were set to 30 min-
utes [4]. The interarrival time ot` tracker requests is typi-
cally 15 minutes at least, meaning that even a conserva-
tive tracker timeout policy of two missed requests cou~
pled with a 30 minute DHCP lease time could result in
this type of misidentification

Man-in-the-middle: Because BitTorrent tracker re-
sponses are not encrypted, man-in-the-middle attacks at
the network level are straightforward Anyone on the
path between tracker and a monitoring agent can alter
the tracker’s response, implicating arbitrary IPs Fur-
ther, man-in-the~middle attacks are also possible at the
overlay level. For redundancy, current BitTorrent clients
support additional methods of gathering peers beyond
tracker requests, These include peer gossip and dis-
tributed hash table (DHT) lookup [3]. Although we have
not determined experimentally if these sources of peers
are used by monitoring agents, each permits man-in-the-
middle attacks D`HT modes can ignore routing requests
and return false IPs in fraudulent result messages Simi-
larly, peers can gossip arbitrary IPs to their neighbors

Malware and open access points: There are other ways
in which innocent users may be implicated for copyright
infringement For example, their computer might be run-
ning malware that downloads or hosts copyrighted con-
tent, or their home network might have an open wireless
access point that someone else uses to share copyrighted
content. We do not consider these further in this paper
since, in these cases, the user’s IP address is involved in
the sharing of copyrighted content (even if the user is in-
nocent). Our previous examples show how it is possible
't`or a user’s IP address to be incorrectly accused of copy-
right violation even if no computer using that IP address
is sharing copyrighted content at the time of observation

5 False Negatives with Direct Detection

A common method employed by privacy conscious
users to avoid systematic monitoring is IP blacklists
These lists include the addresses of suspected monitor-
ing agents and blacklisting software inhibits communica-
tion to and from any peers within these address ranges

T he popularity of blacklists is, in retrospect, perhaps a
bit surprising given our discovery (Section 4) that moni-
toring agents are issuing DMCA takedown notices to IP
addresses without ever exchanging data with those lPs
Nevertheless, blacklists_-if populated correctly-might
be effective in protecting against direct monitoring tech-
niques that involve actual data exchange between moni-
toring agents and P2P clients

Since we expect that enforcement agencies will soon
shift to more conclusive methods of identifying users, we
revisit the issue of blacklists and ask: if enforcement de-
pended on direct observation, are current blacklists likely
to inhibit monitoring? We hnd that the answer to this
question is likely no; current IP blacklists do not cover
many suspicious BitTorrent peers In this section, we de-
scribe the trace analysis supporting this conclusion.

In considering which peers are likely monitoring
agents and which are normal BitTorrent users, our main
hypothesis is that current monitoring agents are crawl-
ing the network using methods similar to our own; i.e.,
crawling popular aggregation sites and querying trackers
for peers On our part, this behavior results in our mea-
surement nodes appearing as disproportionately popular
peers in our trace, and systematic monitoring agents are
likely to exhibit similarly disproportionate popularity.

' To test this, We tirst define our criteria for deciding
whether or not a peer is likely to be monitoring agent, be-
ginning by considering the popularity of peers observed
in our trace on a single day (May l7th, 2008). Of the l.l
million reported peers in 2,866 observed swarms 80%
of peers occur in only one swarm each. Ot` the remain-
ing 20% that occur in multiple swanns, just 0.2% (in-
cluding our measurement nodes and framed lPs) occur
in 10 or more swarms The disproportionate popular-
ity of this small minority suggests the potential for mea-
surement agents but manual spot-checks of several of
these IPs suggests that many are ordinary peers; i.e., they
come from addresses allocated to residential broadband
providers and respond to BitTorrent connection requests

Other addresses however, come from regions allo-
cated to ASes that do not provide residential broad-
band, e.g., co-location companies that serve business
customers only. Further, in several instances multiple ad-
dresses from the /24 prefixes of these organizations are
among the most popular IPs and none of the addresses
respond to BitTorrent connection requests We take this
as a strong signal that these are likely monitoring agents
and consider any /24 prefix with six or more hosts listed
in ten or more swarms to be suspicious We manually in-
spected the organization information for these IPs ( usin g
whois lookup), eliminating any ASes that provide resi-
dential service Although these ASes may host monitor-
ing agents, we adopt a conservative standard by discardd
ing them. This further pruning resulted in a set of l7

Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 17 of 52

suspicious prefixes

To test our list of suspicious prefixes against black-
lists we obtained the latest versions of blacklists used
by the popular privacy protection software SafePeer and
PeerGuardian. Of the 17 suspicious prefixes, 10 were
blocked, and 8 of these, while allocated to a co-locati,on
service provider, are attributed in the blacklists to either
MediaSentry or MediaDefender, copyright enforcement
companies However, seven of our suspicious prefixes
(accounting for dozens of monitoring hosts) are not cov-
ered by current lists

Repeating this analysis for additional days of our trace
yields similar results suggesting that existing blacklists
might not be sufficient to help privacy conscious peers
escape detection (possibly because these blacklists are
manually maintained). On the other hand, our analysis
also implies monitoring agents could be automatically
detected by continuously monitoring swarm membership
and correlating results across swarms While the ex-
act behavior of future monitoring peers may change we
posit that their participation in swarms will remain dis-
tinguishable Adoption of detection techniques like ours
would make it harder for monitoring agencies to police
P2P networks without exposing themselves an issue we
elaborate on in the next section

6 Lessons and Challenges

The current state of P2P monitoring and enforcement is
clearly not ideal. The potential for false positives and
implication of arbitrary addresses undermines the cred-
ibility of monitoring and creates a significant inconve-
nience for misidentified users (if not financial and/or le-
gal penalties). We now discuss the implications of our
worl\', considering lessons learned and likely future chal-
lenges for each of the principals involved in copyright
enforcement enforcement agencies ISPs, and users

6.1 Enforcement agencies

The main lesson for enforcement agencies from our work
is that new methods of collecting user information are re-
quired for identification to be conclusive A more thor-
ough approach to detecting infringement in BitTorrent
would be to adopt the stated industry practice for mon-
itoring the Gnutella network: in the case of suspected
infringement, download data directly from the suspected
user and verify its contents [l l]. Because we have no-
tified several enforcement agencies of the vulnerabilities
described in Section 4, we expect increasing use ol` di-
rect downloads for verifying participation This reduces
the potential for false positives, but it is likely to signifi-
cantly increase the cost of enforcement as well as the risk
of exposing monitoring agents

T he cost of direct identification: The current monitor-
ing approach for BitTorrent, simply issuing a tracker re~

quest, requires only a single HTTP request and response,
generating at most a few kilobytes of network traffic, a
single connection. and minimal processing In contrast
directly connecting to users and downloading data would
require a TCP connection apiece for each potential peer,
block transfers (blocks are typically hundreds of kilo-
bytes), and hash computations to verify data integrity.

This translates into a lO-lOOX increase in the through-
put required for monitoring swarms Our August, 2007
crawl, which relied primarily on tracker requests, re-
quired roughly 100 KBps of sustained throughput per
measurement node to monitor roughly 55,000 swarms
crawled over the course of a month. For a period of one
month, direct verification of our trace would require 25
terabytes of traffic as compared to just 2.5 terabytes for
indirect monitoring Furthermore, verifying participation
by directly downloading data from peers is only possible
for those peers that are not masked by NATs or firewalls
Detecting those that are requires sustained operation as
a server; i.e., waiting for connection requests, accepting
them, and then engaging in transfers to confirm partici-
pation, further increasing the complexity and resources
required for large-scale, direct monitoring

The risk of exposing monitoring agents: A ma-
jor challenge for enforcement agencies is coverage; i.e.,
identifying all infringing users From the perspective of
monitoring agents achieving high coverage is straight-
forward; simply crawl and monitor all swarms From
the perspective of coordinating trackers however, this
behavior amounts to a denial of service attack. Many
swarms are hosted on a small number of public trackers
Monitoring agents that issue frequent requests for each of
the thousands of swarms that one of these public trackers
coordinates are likely to be detected and blocked. ln-
deed, our own monitors were blocked from several of
these trackers prior to rate-limiting our requests

To avoid notice today, monitoring agents need to ac»
quire multiple IPs in diverse regions of the address space
and limit their request rate. But, IP addresses are an in~
creasingly scarce (and expensive) resource, and monitor-
ing more than a few swarms daily from each lP risks ex-
posing monitoring agents through their disproportionate
popularity. Given these challenges recent calls from inv
dustry to enlist ISPs directly in enforcement are unsur-
prising [7]. Since ISPs do not need to participate in P2P
networks to monitor user behavior, there are no appar-
ent monitoring agents to block. Thc majority of com-
plaints we have received to date reflect the tradeoff be-
tween coverage and exposure; they primarily target re-
cently released movies, DVDs, or software packages
even though we appeared to download many more old
works than new.

Challenges to direct monitoring: Even if a monitoring

Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 18 of 52

agent connects directly to a device behind a given IP ad-
dress there are challenges to associating the endpoint of
that communication directly to a specific physical ma-
chine, let alone a specific user. For example, suppose the
IP address corresponds to a family’s home cable-modem
or DSL connection, and suppose the family has an open
wireless access point (or an insecurely-protected access
point) on their internal network. lt may be challenging to
determine whether the machine participating in the P2P
network belongs to the family or a neighbor. To address
this challeiige, monitoring agents may in the future col-
lect data about not only the IP addresses of potentially
infringing parties but also operating system [8, lO, l2]
and physical device [5] lingerprints.

6.2 ISPs

For ISPs7 the main lesson from our work is that san-

ity checking is necessary to protect users from spurious

complaints but not sufficient Section 4 details several
scenarios which may result in false positives that can be
detected by diligent network operators However, not all
false positives can be detected, and current trends in en-
forcement are towards increased automation rather than
increased sanity checking of complaints

Increasing automation: Because most DMCA com-
plaints are communicated over email, network operators
typically inspect messages manually to identify users
At the University of Washington, this manual step has
served as an important check that eliminates some erro-
neous complaints before they reach users [2].

Although having a human “in the loop” is beneficial
to users it may not be tenable with increasing rates of
enforcement While we continuously monitored tens of
thousands of swarms iii our traces, we garnered only hun-
dreds of complaints a small fraction of potentially in-
fringing swarms. Even at this limited level of enforce-
ment, many universities still require dedicated staff to
manually process all the complaints sent to their users
increasing costs Enforcement agencies rely on coopera~
tion from network operators to identify infringing users
but increasing costs have pushed both ISPs and monitor-
ing agencies towards automated enforcement

The trend towards automation is reflected in the prop~
cities of complaints themselves The delay between the
observation of peers by enforcement agencies and the
timestamp of complaint email messages has reduced sig-
nihcantly. T he median delay for complaints generated by
our trace from August, 2007 is 49 hours For more recent
complaints collected in May, 2008, the median delay is
just 2l hours Further, these recent complaints increas-
ingly include machinesreadable summaries of their con-
tent, e.g., Xl\/IL data with public schemas. We hypothe-
size that the intent is to automate the complaint process at
the levels of both enforcement agency and ISP. Enforce-

ment`agencies can crawl P2P networks generating and
dispatching XML complaints which can then be parsed
by ISPs and automatically forwarded to users with no
human intervention

6.3 Users

Our results show that potentially any Internet riser is
at risk for receiving DMCA takedown notices today.
Whether a false positive sent to a user that has never
even used BitTorrent or a truly infringing user that re~
lies on incomplete IP blacklists there is currently no way
for anyone to wholly avoid the risk of complaints But,
the current approach to enforcement has a natural limit-
ing factor. To avoid being detected, our traces suggest
that enforcement agents are not monitoring most swarms
and tend to target those new, popular swarms that are the
most economically valuable

In the long term, the main challenge for privacy con-
scious users is to develop a way to systematically detect
monitoring agents We consider two cases If enforce-
ment agencies continue to monitor swarms at the prow-
col level by participating in swarms users may develop
new techniques to build more dynamic, comprehensive
blacklists If ISPs are enlisted in enforcement at the net-
work level by collecting traces of user trafiic, we antici*
pate increased use of stronger encryption to frustrate re-
altime, automated identification of P2P protocols. We
expand on each of these in turn.

Blacklists on-the-fly: ]ust as we expect enforcement
agencies to shift from indirect to direct methods of en-
forcement, we also expect P2P developers to evolve IP
blacklisting techniques Currently, blacklists are cen-
trally maintained and updated without systematic feed-
back fi'om P2P users ignoring a rich source of data: the
observations of users Many P2P networks include ex-
plicit mechanisms to identify and reward “good users”;
e.g., tit-for-tat mechanisms reward contributions in Bit-
Torrent and eDonkey. Future P2P networks may employ
similar mechanisms to identify monitoring agents gos-
siping this information among peers. Our traces show
that the properties of monitoring agents today make this
a straightforward task: they appear to share no data what-
soever, occur frequently in swanns, and are drawn from
a small number of prefixes. Alternatively, sophisticated
users may also try to generate honeypots (much like our
own) that do not infringe or aid in copyright infringe-
ment, but that will be better able to detect (and hence
dissuade) spurious DMCA takedown notices and coordi-
nated monitoring

Stronger encryption: Today, some BitTorrent clients
include an option to use weak encryption to frustrate the
traffic shaping methods used by several ISPs [6]. In the
future, this encryption might be strengthened For ex-
aniple, a tracker might assist two peers in establishing a

Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 19 of 52

shared key in the face of ISPs that wouid otherwise at-
tempt to identify and restrict P2P traffic Such a tracker
could include not only the IP addresses of participating
clients, but also one-time public keys to decrease expo-
sure to inline man-in-the-middle cryptographic attacks.
To further resist monitoring, communications with track-
ers would have to be authenticated as well, perhaps by
leveraging a lightweight, distributed PKl with popular
trackers as the root authorities.

7 Conclusion

Although content providers are increasingly relying on
systematic monitoring of P2P networks as a basis for
deterring copyright infringement, some currently used
methods of identifying infringing users are not conclu-
sive. Through extensive measurement of tens of thou-
sands of BitTorrent swarms and analysis of hundreds of
DMCA complaints, we have shown that a malicious user
can implicate arbitrary network endpoints in copyright
infringement, and additional false positives may arise
due to buggy software or timing effects We have fur-
ther demonstrated that IP blacklists, a standard method
for avoiding systematic monitoring, are often ineffective
given current identification techniques and provide only
limited coverage of likely monitoring agents These ob»
servations call for increased transparency and openness
in the monitoring and enforcement process and build our
understanding of current challenges and potential next
steps for all parties involved in P2P file sharing: enforce-
ment agencies, ISPs, and users.

8 Acknowledgments

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ington Department of Computer Scienee and Engineer-
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Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 20 of 52

EXHIBIT B

DOE's MOTION TO QUASH OR FOR A PROTECTIVE ORDER
Page 13

 

Ca(s?§

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE: BITTORRENT ADULT FILM
COPYRIGHT INFRINGEMENT CASES

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APPEARANCES:

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ORDER &
REPORT & RECOMMENDATION

Civil Action Nos.

l l-3995(DRH)(GRB);
12-1147(JS)(GRB);

12-1 lSO(LDW)(GRB); and
12-1 154(ADS)(GRB)

K-Beech, Inc. v. John Does 1-37, CV 11-3995 (DRH)(GRB):

For Plaintiff

Frederic R. Abram son7 Esq.
160 Broadway, Suite 5000
New York, New York 10038

For Defendant John Doe #2
Joseph P. Augustine, Esq.
Augustine & Eberle LLP

90 Broad Street, Floor 25
New York, New York 10004

For Defendant John Doe #29
J ames Rosenzweig, Esq.

560 Fifrh Avenue, 3’d Ave.
New York, New York 10036

For Defendant John Doe #35
James D. Murtha, Esq.
26 Railroad Ave. #351
Babylon, New York 11702

Malibu Media, LLC v. John Does 1-26, CV 12-1147 (JS) (GRB),
Malibu Media, LLC v. John Does 1-11, CV 12-1150 (LDVV) (GRB),
Patrick Collins, Inc. v. John Does 1-9, CV 12-1154 (ADS) (GRB):

For Plaintiffs
Jason Aaron Kotzker
Kotzker Law Group

9609 S. University Blvd. #632134
Highlands Ranch, Colorado 80163

cag@§?ifi€\?-'§s’§@§§i§ti/-\t§§e“] Wad}?i%?it'§'§“l:i§d aEl!?i‘thF>/¥>%/d@a E@W%@it§§: 620

GARY R. BROWN, United States Magistrate Judge:

These actions are part of a nationwide blizzard of civil actions brought by purveyors of
pornographic films alleging copyright infringement by individuals utilizing a computer protocol
known as BitTorrent. The putative defendants are identified only by Internet Protocol (“lP”)
addresses These four civil actions involve more than 80 John Doe defendants; these same
plaintiffs have filed another nineteen cases in this district involving more than thrice that number
of defendantsl One media outlet reports that more than 220,000 individuals have been sued since
mid-2010 in mass BitTorrent lawsuits, many of them based upon alleged downloading of
pornographic works.2

This Order addresses (l) applications by plaintiffs in three of these actions for immediate
discovery, consisting of Rule 45 subpoenas directed at non-party lntemet Service Providers
(“ISPs”) to obtain identifying information about subscribers to the named IP addresses and (2)
motions to quash similar subpoenas by several putative John Doe defendants in the remaining
action. For the reasons that follow, including evidence of abusive litigation tactics by plaintiffs,
the plaintiffs’ applications for service of subpoenas are granted only as to John Doe l in each case
under terms and conditions set forth herein, and denied in all other respects The motions to
quash are granted because the work in that action is not subject of a copyright registration

Furthermore, it is respectfully recommended to the respective district judges that (l) as to

 

‘ See Pazrick Collins, lnc. v. Does 1~7, CV 11-1270 (JG) (RER) (80 defendants in consolidated case); K-Beech, Inc. v.
Does 1-29, CV 11-3331 (JFB) (ETB); K-Beech, lnc. v. Does 1-37, CV ll-374l (LDW) (AKT); K~Beech7 lnc. v. Does
1-52, CV 11-3994 (JFB) (ETB); Patrick Collins, lnc. & K-Beech, lnc. v. Doe, CV 11-4094 (]FB) (GRB); Malibu
Media, LLC v. Does 1-10, CV 12-1146 (JS) (ETB); Malibu Media, LLC v. Does 1-20, CV lZ-l 148 (ADS) (AKT);
Mall`bu Media, LLC v. DOeS 1-30, CV 12-1149 (LDW) (AKT); Palrick C<)l[ins, lnc. v. Does 1-11, CV 12-1153 (JFB)
(ARL); Malibu Media, LLC v. Does 1-13, CV 12-1156 (JFB) (ETB).

2 See httt)://vwwv.usnews.corn/news/articles/20 l 2/02/02/porn-companies-f`ile-mass-piracv-lawsuits-are-you~at-risk.

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three of the actions, the matters be dismissed without prejudice as to all defendants other than John
Doe l; (2) that the fourth action be dismissed without prejudice; and (3) that these plaintiffs and
their counsel be directed that all future actions be filed only against a single defendant
BACKGROUND
1. Allegations in the Complaints

The four complaints that are subject to this Order are nearly identical, though each involves
a different pornographic film, to wit: Gang Bang Virgins, Veronz`ca Wet Orgasm, Maryjane Young
Love and Gangbanged. See K-Beech, Inc. v. Does ]-3 7, CV l l-3995 (DRH)(GRB) (hereinafter
“K-Beech”); Malz'bu Media LLC v. Does ]-26, CV lZ-l 147(JS)(GRB) (hereinafter “Mall'bu 26”);
Malibu Media LLC v. Does 1-] ], CV 12-1150 (LDW)(GRB) (hereinafter “Malz`bu ]1”); and
Patrl`ck Collins, lnc. v. Does ]-9, CV 12-1154 (ADS)(GRB) (hereinafter “Patrick Collins”). ln
three of the cases, plaintiff claims to be the owner of a copyright registered for the work in
question. See, e.g., Malibu 26, Complaint at Ml 1-13, Docket Entry (“DE”) [l]. In K-Beech,
plaintiff claims only that an application for copyright has been submitted as to its work Gang Bang
Vz`rgz`ns. K-Beech, Am. Compl. at 111111-12, DE [18]. Each defendant is identified only by an IP
address purportedly corresponding to a physical address in this district, defined in the complaint as
“a number that is assigned by an ISP to deviccs, such as computers, that are connected to the
Internet.” Malz'bu 26, Compl. at 1{8. The Complaints further allege that “[t]he ISP to which
each Defendant subscribes can correlate the Defendant's IP address to the Defendant's true
identity.” Id. at 119.

The complaints describe, in some detail, a peer-to-peer filing sharing protocol known as
BitTorrent which is a means by which devices connected to the Internet can share large computer

files (such as digital copies of movies) While minimizing thc strain on computer netvvorks. See,

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e.g., Malibu 26, Compl. at 1114-li BitTorrent works by breaking files into many smaller files
“to reduce the load on the source computer, rather than downloading a file from a single source
computer (one computer directly connected to another), [and] allows users to join a ‘swarm’ of
host computers to download and upload from each other simultaneously (one computer connected
to numerous computers).” Id. at 1115. BitTorrent also uses a “tracker” computer that tracks the
pieces of the files as those pieces are shared among various computers. This tracking feature the
plaintiffs to identify the IP addresses from which the films were downloaded, the subscribers to
which have become the defendants in these actions Id. 1124-26.
2. Plaintiffs’ Motions for Early Discovery

Plaintiffs in Malibu 26, Malibu ]1, and Patrz`ck Collz`ns have filed motions for leave to file
non-party subpoenas prior to a Rule 26(f) conference, seeking to serve subpoenas upon the ISPs to
identify the subscribers to the subject IP addresses Specifically, these subpoenas seek the “true
name, address, telephone number, e-mail address and Media Access Control (“MAC”) address of
the Defendant to whom the ISP issued an IP address.” See, e.g., Mall.'bu 26, Proposed Order, DE
[3-2].

3. Motions to Quash

By order dated September 16, 201 l, the Honorable A. Kathleen Tomlinson granted a
nearly identical motion for early discovery in K-Beech. See K-Beech, Order of 9/l 6/l l, DE [6].
However, to protect the rights of all parties, Magistrate Judge Tomlinson established a procedure
by which both the ISPs and the John Does were afforded an opportunity to move to quash before
the information was provided to K-Beech. The procedure Magistrate Tomlinson implemented
elicited information that not only permits reasoned review of the motions to quash, but also

provides insight into the pending motions for early discovery.

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A total of six putative John Doe defendants moved to quash, see K-Beech, Motions, DE [7],
[13], [14], [16], [17], & [34], while a seventh had counsel appear without filing a motion. Several
motions include fact based arguments which are highly individual to each moving party, as well as
legal arguments One argument common to all of these motions arises from the fact that,
according to the allegations K-Beech does not have a registered copyright to Gang Bang Virgz`ns,
but premises its action on a copyright application K-Beech has amended its complaint to include
trademark allegations but, notably, has not alleged the receipt of a copyright registration As
detailed below, the registration argument is a sufficient basis to grant the motions to quash7 though
not the sole basis

4. Additional Facts
a. Factual Defenses Raised by the Moving John Doe Defendants

The factual defenses presented are vastly different and highly individualized One
movant - John Doe #16 - has stated that he was at work at the time of the alleged download. John
Doe #2 states under oath that he closed the subject Earthlink account, which had been
compromised by a hacker, before the alleged download. K-Beech, Decl. of John Doe #2, 1[5, DE
[34-1]. John Doe #29’5 counsel represents that his client is an octogenarian with neither the
wherewithal nor thc interest in using BitTorrent to download Gang Bang Virgins. l)E [13].
John Doe #10 represents that downloading a copy of this film is contrary to her “religious, moral,
ethical and personal views.” Mtn 1[5, DE [7]. Equally important, she notes that her Wireless router
Was not secured and she lives near a municipal parking lot, thus providing access to countless

neighbors and passersby.3 Id. at 114

 

3 While Plaintiffs claim that they can amend their complaints to allege negligence against the owner of a WiFi router
who failed to password-protect the device which was then used by an intruder to infringe its copyright, see K-Beech

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b. The Use of IP Address to Identify the Alleged Infringers
The complaints assert that the defendants _ identified only by IP address - were the

individuals who downloaded the subject “work” and participated in the BitTorrent swarm.
However, the assumption that the person who pays for lntemet access at a given location is the
same individual who allegedly downloaded a single sexually explicit film is tenuous, and one that
has grown more so over time. An IP address provides only the location at which one of any
number of computer devices may be deployed, much like a telephone number can be used for any
number of telephones As one introductory guide states:

If you only connect one computer to the Internet, that computer can

use the address from your ISP. Many homes today, though, use

routers to share a single lntemet connection between multiple

computers Wireless routers have become especially popular in

recent years, avoiding the need to run network cables between

rooms If you use a router to share an lntemet connection, the

router gets the IP address issued directly from the ISP. Then, it

creates and manages a subnet for all the computers connected to that

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router.
Thus, it is no more likely that the subscriber to an IP address carried out a particular computer
function - here the purported illegal downloading of a single pornographic film - than to say an
individual who pays the telephone bill made a specific telephone call.

Indeed, due to the increasingly popularity of wireless routers, it much less likely. W hile a

decade ago, home wireless networks were nearly non-existent, 61% of US homes now have

wireless access5 Several of the ISPs at issue in this case provide a complimentary wireless router

as part of Internet Service. As a result, a single IP address usually supports multiple computer

 

Mem. in Opp. at 24, DE [10], this assertion flies in the face of common sense.
4 See “What is an IP address?” available at httr)://computer.howstuffworks.com/internet/basics/question5492.htm.

5 Lardinois, F,. “Study: 61% of US Households Now Have WiFi,” available at http://techcrunch.com, 4/5/12.

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devices - which unlike traditional telephones can be operated simultaneously by different
individuals See U.S. v. Latham, 2007 WL 4563459, at *4 (D.Nev. Dec. 18, 2007). Different
family members, or even visitors, could have performed the alleged downloads Unless the
wireless router has been appropriately secured (and in some cases, even if it has been secured),

neighbors or passersby could access the lntemet using the IP address assigned to a particular
subscriber and download the plaintiffs film. ‘As one court noted:

In order to allow multiple computers to access the internet under the
same IP address, the cable modem may be connected to a router, or
may itself hinction as a router, which serves as a gateway through
which multiple computers could access the internet at the same time
under the same lP address The router could be a wireless device in
which case, computers located within 300 feet of the wireless router
signal could access the internet through the router and modern under
the same IP address The wireless router signal strength could be
increased beyond 600 feet if additional devices are added. The only
way to prevent sharing of the wireless router is to encrypt the signal
and even then an individual can bypass this security using publicly
available software

Id. at *4. Some of these IP addresses could belong to businesses or entities which provide access
to its employees customers and sometimes (such as is common in libraries or coffee shops)
members of the public.

These developments cast doubt on plaintiffs’ assertions that “[t]he ISP to which each
Defendant subscribes can correlate the Defendant’s IP address to the Defendant’s true identity.”
see, e.g., Malibu 26, Compl. at 19, or that the Subscribers to the IP addresses listed were actually
the individuals who carried out the complained of acts As one judge observed:

The Court is concerned about the possibility that many of the names
and addresses produced in response to Plaintiff‘s discovery request
will not in fact bc those of the individuals who downloaded “My
Little Panties # 2.” The risk is not purely speculative; Plaintiff's

counsel estimated that 30% of the names turned over by ISPs
are not those of individuals Who actually downloaded or shared

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copyrighted material. Counsel stated that the true offender is
often the “teenaged son or the boyfriend if it's a lady.”
Alternatively, the perpetrator might turn out to be a neighbor in an
apartment building that uses shared lP addresses or a dormitory that
uses shared wireless networks This risk of false positives gives
rise to the potential for coercing unjust settlements from innocent
defendants such as individuals Who Want to avoid the
embarrassment of having their names publicly associated with
allegations of illegally downloading “My Little Panties # 2.”

Digz`tal Sin, lnc. v. Does 1-] 76, -- F.R.D. --, 2012 WL 263491, at *3 (S.D.N.Y. Jan. 30, 2012)
(citations omitted and emphasis added). Another court noted:

the ISP Subscriber to Whom a certain IP address was assigned may

not be the same person who used the lntemet connection for illicit

purposes . . . By defining Doe Defendants as ISP subscribers who

were assigned certain IP addresses instead of the actual lntemet

users Who allegedly engaged in infringing activity, Plaintiffs

sought-after discovery has the potential to draw numerous innocent

internet users into the litigation, placing a burden upon them that

weighs against allowing the discovery as designed.
SBO Pictures, lnc. v_ Does ]-30367 2011 WL 60026207 at *3 (N.D.Cal. Nov. 30, 2011) (citations
omitted).

ln sum, although the complaints state that IP addresses are assigned to “devices” and thus
by discovering the individual associated With that IP address will reveal “defendants’ true
identity,” this is unlikely to be the case. Most, if not all, of the IP addresses will actually reflect a
wireless router or other networking device, meaning that while the ISPs will provide the name of
its subseriber, the alleged infringer could be the subscriber, a member of his or her family, an
employee, invitee, neighbor or interloper.
c. Indicia of Unfair Litigation Tactics

One moving defendant has provided concrete evidence of improper litigation tactics

employed by K-Beech. In a sworn declaration, John Doe #16 states the following:

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Upon receipt of the Complaint, l reached out to Plaintiff and spoke
to a self-described “Negotiator” in an effort to see if I could prove to
them (without the need for publicly tying my name to the
Complaint) that I had nothing to do with the alleged copyright
infringements The Negotiator was offered unfettered access to
my computer, my employment records, and any other discovery
they may need to show that I Was not the culpable party. Instead,
the Negotiator refilsed and was only willing to settle the Complaint
for thousands of dollars While the Negotiator said on October 24,
2011 that he would check to see if he could come down from the
thousands of dollar settlement amount, the Negotiator has not
responded to two voice mails that were left on October 25, 2011.
Notably, the Negotiator justified the settlement amount because, in
part, I would incur legal fees in hiring an attorney.

K-Beech, Decl. of John Doe #16, at ll-12 , DE [16] (emphasis added). Significantly, since
plaintiff has not yet been provided With the identities of the moving John Does, this record exists
only because John Doe #16 proactively contacted counsel for K-Beech (who is also representing
Patrick Collins, lnc. in another matter), rather than await a determination by the Court. John Doe
#16’5 experience directly mirrors that of defendants in a separate action by plaintiff K-Beech
regarding Gang chg Virgz'ns, as well as another action filed by Patrick Collins, lnc. relating to a
film entitled Cul‘z`es. See K-Beech, lnc. v. Does ]-85, 2011 U.S. Dist. LEXIS 1245 81, at *6
(E.D.Va. Oct. 5, 2011) (“Some defendants have indicated that the plaintiff has contacted them
directly with harassing telephone calls, demanding $2,900 in compensation to end the litigation”)
and Patrick Collins, Inc. v. Does 1 -58, 2011 U.S. Dist. LEXIS 120235, at *6 (E.D.Va. Oct. 5,
2011) (same); cf Raw Films, de. v. Does 1-32, 2011 wL 6182025, at *2 (E.D.va. oct. 5,

201 1)(same).6

Remarkably, plaintiffs opposition to John Doe #16’5 motion, encompassing 62 pages of

 

6 In these cases, counsel for K-Beech and Patrick Collins, lnc. was directed to show cause why Rule 11 sanctions
should not be imposed for this conduct, but ultimately sanctions were not imposed.

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material,7 does not provide any evidentiary response to these sworn assertions of improper
conduct. Rather, counsel attempts to dismiss this evidence as “mere denials”, and unabashedly
argues that “[d]efendant’s] assertion that the negotiations between him and Plaintiff have ended
further supports the need for litigation.” Pl’s. Mem. In Opp. at 24, DE [22]. Moreover, K-Beech
has filed “Notices of Settlement and Voluntary Dismissal” as to three of the John Does in this
action. See DE [30], [31] and [3 8]. “This course of conduct indicates that the plaintiffs have
used the offices of the Court as an inexpensive means to gain the Doe defendants’ personal
information and coerce payment from them. The plaintiffs seemingly have no interest in actually
litigating the cases, but rather simply have used the Court and its subpoena powers to obtain
sufficient information to shake down the John Does.” Raw Films, 2011 WL 6182025, at *2.

In a similar case by plaintiff Patrick Collins filed in this distriet, after being granted
discovery of the IP subscribers, counsel for that entity described in motion papers the intended
approach to the John Doe defendants:

Plaintiff requested and Was granted additional time Within Which to
effectuate service upon the Doe Defendants to accommodate
Plaintiff’s need for obtaining their identifying information, as Well
as its further settlement and litigation strategy. The latter involves
Plaintiff contacting Doe Defendants once their identities are known
and attempting to reach a settlement with them. In cases where a
settlement cannot be reached, Plaintiff Would then consider the

feasibility of filing suit, and proceed with service upon those Doe
Defendants against whom it chooses to proceed.

 

7 Plaintiff K-Beech’s rambling motion papers often lapse into the fareical. In its papers, counsel for K-Beech equate
its difficulties with alleged piracy of its adult films with those faced by the producers of the Harry Potter books,
Beatles songs and Microsoft software, and compare its efforts to collect from alleged infringers of its rights to the
efforts of the FBI to combat child pornography Mem. in Opp. at 4, l0, DE [22]. In an ironic turn, the purveyors of
such works as Gang Bang Vl'rgins, explain how its efforts in this matter will help empower parents to prevent minors
from watching "movies that are not age appropriate” by ensuring that viewers must pay for plaintiffs products, and
thereby effectively notify parents of such activity because “many parents would surely notice if they showed up on
billing statements.” Id. at 7-8. It is difficult to accord the plaintiff, which features “'l`een” pornography on its
website, the moral high-ground in this regard.

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Patrick Collins, lnc. v. Does ]-7, CV 11-1270 (JG)(RER), Mtn, DE [22], at 11 6. On a cold record,
this overview could be viewed as a reasoned approach. However, when viewed against
undisputed experience of John Doe #16, described above, and findings by other courts, this
suggests an approach that is highly inappropriate

DISCUSSION
The Legal Standard
Federal Rule of Civil Procedure 26(d)(1) forbids a party from seeking discovery “from any

source before the parties have conferred as required by Rule 26(f) except as “authorized by court
order.” Fed. R. Civ. P. 26(d) (l). This is generally viewed as requiring a showing of good
cause. See, e.g., Ayyash v. BankAl-Madl'na, 233 F.R.D. 325, 326 (S.D.N.Y. 2005). Plaintiffs
rely principally upon the five factor Sony Musz'c test, adopted by the Second Cireuit, which
requires the Court to weigh:

(1) [the] concrete[ness of the plaintiffs] showing of a prima facie

claim of actionable harm, (2) [the] specificity of the discovery

request, (3) the absence of alternative means to obtain the

subpoenaed information, (4) [the] need for the subpoenaed

information to advance the claim, and (5) the [obj ecting] party's

expectation of privacy.
Arz`sta Records, LLC v. Doe 3, 604 F.3d 110, 119 (2d Cir. 2010) (cz'tl`ng Sony Musz`c Enlm ’t lnc. v.
Does ]-40, 326 F. Supp. 2d 556, 564-65 (S.D.N.Y. 2004)). This test, articulated in the context of
evaluating a motion to quash, frames the inquiry in evaluating defendants’ motions in K-Beech.
Additionally, plaintiffs correctly note that the test is also instructive in evaluating the motions for
early discovery.

Element 1: Prima Facie Claim of Actionable Harm

Plaintiffs Malibu and Patrick Collins have set forth prima facie claims of actionable harm

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by alleging ownership of registered, copyrighted works that have been infringed8

The situation with K-Beech is far different K-Beech does not allege that it has a
copyright registration; rather, it bases its complaint on a copyright application ln another case in
this district, K-Beech v. Does 1-29, CV 11-3331, Magistrate Judge Boyle denied K-Beech the
precise relief sought in the instant application based on a failure to allege that its copyright in the
work in that case - Virgins 4 - had been registered Judge Boyle found:

Section 41 l(a) of the Copyright Act “requires copyright holders to
register their works before suing for copyright infringement.” Reea'
Elsevier, Inc. v. Muchnz'ck, _ U.S. _, 130 S. Ct. 1237, 1241, 176 L.
Ed. 2d 18 (2010) (citing 17 U.S.C.A. § 41 l(a)). While failure to
register a work does not deprive a federal court of jurisdiction over
an action for infringement, valid registration is an element of an
infringement claim. Although the Second Circuit has not addressed
this specific question, courts in both the Eastem District of New
York and the Southern District of New York have held that
submission of an application for copyright registration does not
satisfy the registration precondition of § 411(a).

Order of 9/19/11 at 2-3 (additional quotations and citations omitted), DE [10]. Judge Boyle
denied the requested discovery, and K-Beech voluntarily dismissed the case. See DE [12]. I agree _
with Judge Boyle and find that K-Beech has not met its burden on this factor.

K-Beech attempted to remedy this deficiency by adding conclusory trademark claims
to its amended eomplaint. The complaint fails to explain in What vvays the illegal downloading

and uploading alleged could possibly cause confusion among consumers, or “hamper efforts by

 

8 For the purposes of this analysis, it is assumed that plaintiffs’ works are entitled to copyright protection, though that
may be an open question. See Liberly Media Holdings, LLC v. Swarm Sharing Hash Fl`le, 821 F. Supp. 2d 444, 447
n.2 (D.Mass. 2011) (it is “unsettled in many circuits, whether pornography is in fact entitled to protection against
copyright infringement”).

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Plaintiff to protect its reputation” with “the purchasing public in New York.”9 Am. Compl.
11164-67, DE [18]. K-Beech’s citation to dicta in the Supreme Court’s decision in Dastar is
unavailing, as that case’S holding undercuts plaintiffs attempt to extend trademark protection to
these facts Dastar Corp. v. Twentieth Centurjy Fox Film Corp., 539 U.S. 23, 34 (2003) (“in
construing the Lanham Act, we have been careful to caution against misuse or over-extension of
trademark and related protections into areas traditionally occupied by copyrigh ” (citation
omitted)). Even viewed in the most favorable light, the trademark allegations fail to state a claim.
F.lements 2: The Specificity of the Discovery Requests

With respect to the specificity of discovery requests, the Sony Musz'c court explained that
this factor requires that “Plaintiffs’ discovery request is also sufficiently specific to establish a
reasonable likelihood that the discovery request would lead to identifying information that would
make possible service upon particular defendants who could be sued in federal court.” Sony
Musz`c, 326 F. Supp. 2d at 566. While the discovery propounded by plaintiffs is specific, for the
reasons discussed above, it does not establish a reasonable likelihood it will lead to the identity of
defendants who could be sued. See Pacz`flc Century Int ’l er. v. Does, 2011 WL 5117424, at *2
(N.D.Cal. Oct. 27, 201 1) (“Plaintiff must go beyond the ‘limited discovery’ that it earlier asserted
would lead to Defendants’ identities . . . [p]resumably, every desktop, laptop, smartphone, and

tablet in the subscriber's residence, and perhaps any residence of any neighbor, houseguest or other

 

9 As K-Beech put its reputation into issue, it is worth noting that the owner of K-Beech lnc. (and the apparent
inspiration for the K-Beech mark) is Kevin Beechum. See “Porn studios raided to ensure adult-only easts,” 1/12/07,
LA Times at 1. lt appears that this is the same Kevin Beechum who testified in federal prosecutions about his
experience vandalizing retail adult video stores to help extort protection payments from their owners See U.S. v.
Feinberg, 89 F.3d 333, 335 (7‘h Cir. 1996); U.S. v. Slurman, 49 F.3d 1275, 1278 (7th Cir. 1995). ln those cases,
Beechum described how he hired associates to use hammers and baseball bats to inflict $10,000 in damage on a
Phoenix adult shop_, and negotiated over a “few morejobs” in Cleveland. Other evidence established that, following
Beechum’s introduction, these same associates on behalf of the extortionists, planned to plant remote control bombs
at eight stores in Chicago in furtherance of the seheme, but that plan failed when, after successfully attacking one
store7 a bomb accidentally went off, killing one of the coconspirators

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sharing his internet access would be fair game. Beyond such an inspection, [the plaintiff] might
require still more discovery, including interrogatories document requests and even depositions.”
(citations omitted; alterations in original)).

In this regard, the instant matter is factually distinguishable from the Arz'sta Records
decision. ln that case, the sought after discovery involved an lntemet service provider located at a
university. Based on that setting, and at that time, it was almost certain that the end user at an lP
address was a particular individual, rather than a Wireless network. The instant case involves
broadband lntemet service in a largely residential suburban area at a time when wireless is widely
available. Furthermore, it is alleged that each John Doe in the instant case downloaded only a
single pornographic film. By contrast, in Arz`sta Records, the plaintiff alleged that a file sharing
folder located at the lP address in question contained 236 audio files containing at least a
half-dozen copyrighted songs owned by the plaintiff. Arz`sla Records, 604 F.3d at 122. In fact,
in that case, plaintiffs’ investigator was able to “download[] music files from the user's computer,”
which is not the ease here. Arz`sta Recom’s LLC v. Does ]-16, 2009 WL 414060, at *1 (N.D.N.Y.
Feb. 18, 2009) a]j”’d 604 F.3d 110 (2d Cir. 2010). Clearly, the level of activity in Arista Records
made it far more likely that the subscriber to the IP address would have conducted or at least been
aware of the illegal downloading. In sum, it is not clear that plaintiffs have satisfied this factor.
Element 32 The Absence of Alternative Means

As one court observed, “[b]ecause the transactions in question occurred online, the
defendants have been elusive and the IP addresses and ISP are the only available identifying
information. Without the requested discovery, there are no other measures Plaintiff can take to
identify the personal information for the Doe defendants.” Raw Films, Ltd. v. Does 1-]1, 2012

WL 684763, at *2 (S.D. Cal. Mar. 2, 2012). Plaintiffs retained a company that provides forensic

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investigation services including the identification of IP addresses using BitTorrent protocol. See
Fieser Decl. 1115-6, DE [3-3]. Since plaintiffs have only been able to identify IP addresses used
for potential infringement, they have established to the satisfaction of the Court that there are not
alternative means available to identify the alleged infringers
Element 4: The Need for Subpoenaed Information to Advance the Claim

Plaintiffs clearly need identification of the putative John Does in order to serve process on
them and prosecute their claims However, not all the information sought is required to advance
the claim. For example, in addition to names and addresses plaintiffs seek both the home
telephone numbers and email addresses of the putative John Does see Malibu 26, Proposed Order
DE [3-2], information which is clearly not required to proceed with this action. In particular,
obtaining the home telephone numbers seems calculated to further plaintiffs’ settlement strategies
discussed above, rather than advancing their claims by allowing them to effect service.
Element 5: Defendants’ Expectation of Privacy

In Arz`sta Records, the John Doe defendant, conceding that he had engaged in the alleged
improper downloading, sought to quash the subpoena on First Amendment grounds While
recognizing the protected nature of anonymous speech, the Court rejected the challenge,
concluding that the “First Amendment does not . . . provide a license for copyright infringement,”
Arisla Records, 604 F.3d at 118. In examining this factor, the Sony Music court noted
“defendants have little expectation of privacy in downloading and distributing copyrighted songs
without permission.” Sony Music, 326 F. Supp. 2d at 566-67. IIere it is uncertain - indeed, it
may be unlikely - that the subscribers sought to be identified downloaded the plaintiffs’
copyrighted works Cf. Pacz'jic Century, 2011 WL 5117424, at *2 (denying discovery to protect

“innocent internet users”). Thus, this Court cannot conclude with any reasonable certainty that

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plaintiffs have overcome the expectation of privacy by putative defendants
Abusive Litigation Tacties Employed by the Plaintiffs

The most persuasive argument against permitting plaintiffs to proceed with early discovery
arises from the clear indicia, both in this case and in related matters that plaintiffs have employed
abusive litigations tactics to extract settlements from John Doe defendants Indeed, this may be
the principal purpose of these actions and these tactics distinguish these plaintiffs from other
copyright holders with whom they repeatedly compare themselves See, e.g., K-Beech, Pl. Mem.
in Opp. at 3, DE [22] (arguing that this decision ‘wvill affect the rights of intellectual property
holders across all segments of society”). While not formally one of the Sony Music factors these
facts could be viewed as a heightened basis for protecting the privacy of the putative defendants or
simply grounds to deny the requested discovery on the basis of fundamental fairness

In an effort to defend its litigation approach, K-Beech argues that “Fed.R.Civ.P. 1 requires
that Courts construe the rules to secure the inexpensive determination of every action.” Pl. Mem.
in Opp. at 11, DE [22]. This Court takes the mandate of Rule 1 quite seriously, and vigorously
encourages efforts by litigants to reduce litigation costs through settlement. See In re Tobacco
Lz`tig., 192 F.R.D. 90, 95 (E.D.N.Y. 2000) (describing court’s “duty to take affirmative action
assisting the parties in all possible settlement options”). I-Iowever, in its argument, plaintiff
neglects to observe that Rule 1 requires that disputes should be resolved in a manner that is “just,
speedy and inexpensive.” Fed. R. Civ. P. l (emphasis added). In this case, John Doe #16 offered
the plaintiff “unfettered access” to his computer and employment records demonstrating that he
was not at home at the time of the downloading, yet still finds himself pressured to settle for
thousands of dollars lt would be difficult to characterize such a resolution as “just” even if

speedy and inexpensive (for the plaintiff). Cf On T he Cheap, LLC v. Does ]-5011, -- F.R.D. --,

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2011 WL 4018258, at *4 (N.D.Cal. Sept. 6, 2011) (“plaintiffs desire to enforce its copyright in
what it asserts is a cost-effective manner does not justify perverting the joinder rules to first create
. . . management and logistical problems . . . and then offer to settle with Doe defendants so that
they can avoid digging themselves out of the morass plaintiff is creating”).

Our federal court system provides litigants with some of the finest tools available to assist
in resolving disputes the courts should not, however, permit those tools to be used as a bludgeon.
As one court advised Patrick Collins lnc. in an earlier case, “while the courts favor settlements
filing one mass action in order to identify hundreds of doe defendants through pre-service
discovery and facilitate mass settlement, is not what the joinder rules were established for.”
Patrick Collins, lnc. v. Does ]-3 75 7, 2011 U.S. Dist. LEXIS 128029, at *6-7 (N.D.Cal. Nov. 4,
2011).

Given the unopposed, sworn account by John Doe #16, which dovetails with the
experience of defendants in other actions brought by K-Beech and Patrick Collins l find counsel
for K-Beech has already engaged in improper litigation tactics in this matter, and find it highly
probable that Patrick Collins lnc. and Malibu will likely engage in similar tactics if permitted to
proceed with these mass litigations Such conduct cannot be condoned by this Court. This is a
persuasive basis to deny the motions for early discovery, as well as an additional basis to grant the
motions to quash. See Pacz`jic Cenlury, 2011 WL 5117424, at *2 (denying discovery on this
basis).

lt Would be unrealistic to ignore the nature of plaintiffs’ allegations - to Wit: the theft of
pornographic films - which distinguish these cases from garden variety copyright actions
Concem with being publicly charged with downloading pornographic films is, understandably, a

common theme among the moving defendants As one woman noted in K-Beech, “having my

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name or identifying or personal information further associated with the work is embarrassing
damaging to my reputation in the community at large and in my religious community.” Mtn to
Quash, 115, DE [7]. Many courts evaluating similar cases have shared this concern. See,e.g.,
Pacz'flc Cenlury Int’l, Ltd. v. Does 1-37, - F. Supp. 2d -, 2012 WL 1072312, at *3 (N.D. lll. Mar.
30, 2012) (“the subscribers often embarrassed about the prospect of being named in a suit
involving pornographic movies settle”); Digl`tal Sin, 2012 WL 263491, at *3 (“This concern, and
its potential impact on social and economic relationships could compel a defendant entirely
innocent of the alleged conduct to enter an extortionate settlement”) SBO Pz`ctures, 2011 WL
6002620, at *3 (defendants “whether guilty of copyright infringement or not-would then have to
decide whether to pay money to retain legal assistance to fight the claim that he or she illegally
downloaded Sexually explicit materials or pay the money demanded. This creates great potential
for a coercive and unjust ‘settlement”’ ). This consideration is not present in infringement
actions involving, for example, popular music downloads See Arista Records, 604 F.3d at 122,
(“Teenagers and young adults Who have access to the Internet like to swap computer files
containing popular music . . . The swappers . . . are ignorant or more commonly disdainfi.ll of
copyright.”» (quoting In re Aimsler Copyright Lz`tig., 334 F.3d 643, 645 (7th Cir. 2003))).

The Federal Rules direct the Court to deny discovery “to protect a party or person from
annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).
This situation cries out for such relief.

Joinder is Inappropriate

In opposing the motions to quash, K-Beech relies heavily on the “swarm joinder” theory

championed by plaintiffs here and elsewhere Rule 20 governs the permissive joinder of parties

and states that defendants may be joined in one action where a plaintiff states a right to relief

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“arising out of the same transaction, occurrence, or series of transactions or occurrences” and “any
question of law or fact common to all defendants will arise in the action.” Fed. R. Civ. P. 20 (a)
(2) (A) & (B). The argument is that every user who participates in the “swarm” is acting in
concert to violate plaintiffs’ copyrights

Highly questionable factual assumptions underlie plaintiffs’ contention that these cases
satisfy the Rule 20 requisites for joinder. By way of example, Plaintiffs assert that the John Does

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were “acting in concert with each other, working together”, and “directly interacted and
communicated with other members of that swarm_” See, e.g., Malibu 26, Compl. 1111 107 33, 34.
Much of the BitTorrent protocol operates invisibly to the user - after downloading a file,
subsequent uploading takes place automatically if the user fails to close the program. Exhibit D
to the complaints which allegedly documents the “interaetions” between defendants is a page of
machine instructions which clearly demonstrate that the user plays no role in these interactions
lndeed, “[t]he bare fact that Doe clicked on a command to participate in the BitTorrent Protocol
does not mean that they were part of the downloading by unknown hundreds or thousands of
individuals across the country or across the world.” 'Hard Drive Proa's., Inc. v. Does 1-]88, 809
F. Supp. 2d 1150, 1163 (N.D. Cal. 2011).

Moreovcr, the dates of downloading provided in the complaints - which arc often weeks or
months apart -- further undermine the allegation that all of the John Does were part of a single
swarm. Thus, even assuming that the John Does are the actual infringers the assertion that
defendants were acting in concert rests upon a thin reed. See generally Raw Films, Lta'. v. Does
1-32, 2011 WL 6840590, at *2 (N.D.Ga. Dec. 29, 201 l) (stating that the “differing dates and times
of each Defendant’s alleged sharing do not allow for an inference that the Defendants were acting

in concert”); Raw 17 ilms, Ltal. v. Does 1-32, 201 1 WL 6182025 at *2 (E.D.Va. 2011) (conduct over

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a three month time span was “insufficient to meet the standards of joinder set forth in Rule 20”). l
find that plaintiffs have not satisfied the requirement of establishing that defendants participated in
the same “transaction” or “occurrence” within the meaning of Rule 20.

Altematively, because joinder is permissive, this Court retains the discretion to sever under
Rules 20(b), 21, and 42 (b). See Third Degree Fz`lms v. Does 1-]31, -- F. Supp. 2d --, 2012 WL
692993, at *3 (D. Ariz. Mar. 1, 2012). In determining whether to exercise that discretion, the
court should “examine whether permissivejoinder would comport with the principles of
fundamental fairness or Would result in prejudice to either side.” ()n the Cheap, 201 1 er
4018258, at *2 (quoting Coleman v. Quaker Oats Co., 232 F.3d 1271, 1296 (9th Cir. 2000)).
“Courts may also consider factors such as the motives of the party seeking joinder and whether
joinder would confuse and complicate the issues for the parties involved.” SBO Pictures, 2011
WL 6002620, at *3.

Plaintiffs identify two common questions of fact in these actions: the plaintiffs’ ownership
of copyrights and the workings of BitTorrent. By contrast, the half-dozen moving defendants
even at this preliminary stage, have raised a panoply of individual defenses including age,
religious convictions and technological savvy; misidentification of ISP accounts the kinds of
WiFi equipment and security software utilized; and the location of defendant’s router. The
individualized determinations required far outweigh the common questions in terms of discovery,
evidence, and effort required. Thus swarm joinder complicates these actions resulting in waste
of judicial resources

Plaintiffs tout the fact that “joinder in BitTorrent copyright infringement cases has been
thoroughly analyzed in forty reported opinions and has been permitted in district courts across the

country.” K-Beech, Mem. in Opp. at 1, DE [25]. However, due to plaintiffs’ litigation

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strategy, which includes avoiding review on the merits except at a preliminary, ex parte stage,
these determinations were made without any factual record by judges unaware of the highly
individualized, fact specific defenses raised on the motions to quash, or evidence of strong-arm
tactics both of which strongly militate against allowing joinder in these mass actions

On this issue, one court has observed:

In addition to the Rule 20(a)(2) criteria, the court has a parallel duty
to ensure that permissive joinder “would comport with the
principles of fundamental fairness or would [not] result in prejudice
to either side. The court also has discretion to sever an action when
joinder would confuse and complicate the issues for all parties
involved. lt is likely that Defendants would assert different factual
and legal defenses and would identify different witnesses Case
management and trial . . . would be inefficient, chaotic, and
expensive Joining Defendants to resolve what at least
superficially appears to be a relatively Straightforward case would in
fact transform it into a cumbersome procedural albatross. These
difficulties would place tremendous burden on Defendants as well.
To provide two illustrative examples each Defendant would have
the right to be present at every other Defendant's depositions-a
thoroughly unmanageable and expensive ordeal. Similarly, pro se
Defendants who most likely would not e-file, would be required to
serve every other Defendant with a copy of their pleadings and other
submissions throughout the pendency of the action at substantial
cost. The court cannot permit a case to proceed in this manner.

Pacz`fz`c Centwjy, 2011 WL 5117424, at *3 (quotations and citations omitted). As such, l find that
principles of fundamental fairness and judicial economy dictate that permissive joinder not be
allowed in these cases
By Pursuing Mass Actions, Plaintiffs Improperly Avoid Payment of Filing Fees

The payment of court filing fees is mandated by statute Specifically, the “district court

shall require the parties instituting any civil action, suit or proceeding in such court, whether by

original process removal or otherwise, to pay a filing fee of $350.” 28 U.S.C. §l9l4(a). Of that

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amount, “$190 shall be deposited into a special fund of the Treasury to be available to offset funds
appropriated for the operation and maintenance of the courts of the United States.” 28 U.S.C.
§1931(1).

In multidistrict cases considering severance of cases courts have noted that the filing fee
has:

two salutory purposes First, it is a revenue raising measure . .

Second, §1914(a) acts as a threshold barrier7 albeit a modest one,

against the filing of frivolous or otherwise meritless lawsuits Had

each plaintiff initially instituted a separate lawsuit as should have

occurred here, a fee would have been collected for each one. . . .

Thus the federal fisc and more particularly the federal courts are

being wrongfully deprived of their due By misjoining claims a

lawyer or party need not balance the payment of the filing fee

against the merits of the claim or claims
In re Diet Drugs, 325 F. Supp. 2d 540, 541-42 (E.D. Pa. 2004); see also In re Seroquel Proa’s.
Liabilz`ly Litig., 2007 WL 737589, at *2-3 (M.D. Fla. Mar. 7, 2007) (denying reduction of filing
fees noting the burden on the court and the “gatekeeping feature of a filing fee”).

Several courts in similar cases involving BitTorrent protocol have also recognized the

effect of a countenancing a single filing fee. One court described the “common arc of the

plaintiffs’ litigating tactics” in these cases:

...these mass copyright infringement cases have emerged as a

strong tool for leveraging settlements-a tool whose efficacy is

largely derived from the plaintiffs’ success in avoiding the filing

fees for multiple suits and gaining early access en masse to the

identities of alleged infringers
Pacific Century, 2012 WL 1072312, at *3. Thus the plaintiffs file a single case, and pay one
filing fee, to limit their expenses as against the amount of settlements they are able to negotiate

Postponing a determination on joinder in these cases “results in lost revenue of perhaps millions of

dollars (from lost filing fees) and only encourages plaintiffs in copyright actions to join (or

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misjoin) as many doe defendants as possible.” K-Beech, lnc. v. John Does ]-41, 2012 WL
773683, at *5 (S.D. Tex. 2012).

ln the four cases before this Court, plaintiffs have improperly avoided more than $25,000
in filing fees by employing its swarrn joinder theory. Considering all the cases filed by just these
three plaintiffs in this district, more than 8100,000 in filing fees have been evaded. lf the reported
estimates that hundreds of thousands of such defendants have been sued nationwide, plaintiffs in
similar actions may be evading millions of dollars in filing fees annually. Nationwide, these
plaintiffs have availed themselves of the resources of the court system on a scale rarely seen. lt
seems improper that they should profit without paying statutorily required fees

CONCLUSION

Because K-Beech has failed to allege a valid cause of action, and for all the other
reasons set forth herein, the motions to quash in K-Beech, CV 11-3995, DE [7], [13], [14], [16],
[17], [34], are hereby GRANTED.

For all of the reasons set forth herein, the Court is not inclined to grant the broad early
discovery sought by Malibu and Patrick Collins At the same time, these plaintiffs are allegedly
the owners of copyrighted works who should not be left without any remedy. Given the record in
this case, however, this must be done in a fashion that will ensure that the rights of all parties are
adequately protected. Thus the Court is prepared to grant these plaintiffs limited early discovery,
to wit: the names and addresses (not email addresses or phone numbers) of only the subscribers
designated as John Doe 1 in Malibu 26, Malibu 1 I, and Patrick Collins Following service of
subpoenas under the terms and conditions set forth below, the identifying information will be
provided to plaintiffs at a status conference, with each John Doe 1 present, giving them an

opportunity to be heard, to obtain counsel and, if appropriate, request appointment of counsel from

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this Court’s pro bono panel.
Plaintiffs’ motions for leave to serve third-party subpoenas prior to a Rule 26(f)

conference Malibu 26, CV 12-1147, DE [3], Malibu 11, CV 12-1150, DE [3], and Patrick Collins

CV 12-1154, DE [3], are GRANTED ONLY to the following extent:

(1) Plaintiffs in Malibu 26, Malibu 11 and Patrick Collins may serve subpoenas
pursuant to Rule 45 of the Federal Rules of Civil Procedure on the ISPs to obtain the
name, address and Media Access Control address for each Defendant designated as
John Doe l in each action to whom the ISP assigned an lP address Under no
circumstances are plaintiffs permitted to seek or obtain the telephone numbers or
email addresses of these individuals or to seek or obtain information about any
potential John Doe defendant other than John Doe 1. Plaintiff’s counsel is directed to
attach a copy of this Order to the subpoena.
(2) Within seven days of service of each subpoena, the ISPs shall reasonably attempt
to identify each John Doe 1 and provide him or her with a copy of the subpoena and
this Order. lf any of the ISPs are unable to determine, to a reasonable degree of
technical certainty, the identity of the user of a particular IP address it shall so notify
Plaintiff s counsel.
(3) The ISPs shall have twenty-one (21) days from the service of the subpoena to
move to quash or otherwise object to the subpoena Each potential defendant shall
have fourteen (14) days from receipt of the subpoena from the ISP to move to quash or
otherwise object to the subpoena.
(4) Absent any motion to quash or obj ection, the ISPs shall produce the information

sought to thc Court, not to the Plaintiff within twenty-one (21) days after notifying

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each Defendant pursuant to paragraph (2) above. Said submission shall be made ex
parte and under seal. Said information will be provided to counsel for plaintiffs at a
status conference to be scheduled by the Court.

(5) Plaintiff may only use the information disclosed pursuant to the subpoenas for the

purpose of protecting and enforcing Plaintiffs’ rights as set forth in the Complaint.

REPORT AND RECOMMENDATION TO THE DISTRICT JUDGES

For all of the reasons set forth herein, it is respectfully recommended as follows:

1.

That the complaints in Malibu 26, Malibu 11 and Patrick Collins be dismissed, sua
sponte and without prejudice as to all defendants other than the individual designated
as John Doe 1 in each action;

That the complaint in K-Beech be dismissed, sua sponte and without prejudice, in its
entirety; and

That plaintiffs and their counsel in all four actions be directed that any future actions of
a similar nature in this district be filed as separate actions as against each John Doe
defendant, so as to avoid unfair outcomes improper joinder and waste of judicial
resources and to ensure the proper payment of filing fees See, e.g., DIRECTV, Inc. v.
Armellino, 216 F.R.D. 240, 241 (E.D.N.Y. 2003) (Spatt, J.) (“plaintiff is advised that
all future claims of this nature must be instituted separately against individual
defendants"`), (citl'ng CSC Holdl'ngs lnc. v. Tack, CV 00-3555 (E.D.N.Y. June 16,

2000) (Seybert, J.)).

A copy of this Order and Report and Recommendation is being sent to counsel for the

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plaintiffs by electronic filing on the date below. Any objections to the Report and
Recommendation portion must be filed with the Clerk of the Court within 14 days See 28 U.S.C.
§636 (b)(l); Fed. R. Civ. P. 72; Fed. R. Civ. P. 6(a) and 6(d). Failure to file objections within
this period waives the right to appeal the District Court’s Order. See Ferrer v. Woliver, 2008 WL
4951035, ar *2 (2d cir_ Nov_ 20, 2008); Beverly v. Walker, 116 F.3d 900, 902 (2d Cir. 1997);
Savoie v. Merchants Bank, 84 F.3d 52, 60 (2d Cir. 1996).

Dated: Central lslip, New York

May 1, 2012

/s/ Gary R. Brown
GARY R. BROWN
United States Magistrate Judge

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Case 2:12-cv-00616-WBS-JF|\/| Document 10 Filed 05/24/12 Page 47 of 52

EXHIBIT C

DOE'S MOTION TO QUASH OR FOR A PROTECTIVE ORDER
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Ccvad Communications Co. ALL Nene provided

Froniier Communicatiorzs of America ALL None provided

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Sprint PCS ALL None provided

Surewesl Broadband Al_l_ None provided

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51 A list of the iSFs for which there is a pending motion to quash.

AT&T., COl\JlCAST, CHARTER 81 COX

6) Whether, when, and by what means Plaintiffs counsei has contacted John Doe 134, the
movant in ECF No. 25.

P§aéoilii’s counsel has nor attempted to contact the unidentified individual referred to by the Court as
"doiin Doe 134."

'!) Whetlaer, Wiren, and by what means Plaintiffs counsel has contacted or attempted to
contact Messrs. Ferliio and Smith,

Plaintiffs counsel attempted to contact Mr Feriiio by U.S mail. Piaintiif’s counsel attempted to contact lvir.
Smittr by 1184 mail

81 A list ci the lP addresses ior which Plaintiffs counsel received subpoena returns and
whether the iSP provided ali the categories of information requested by the subpoena lt the lSP
did not provide aii categories of intormarion, identify which categories 01 information were not
provided

iP Address Missing small 76,200.129.112 Pnone,

68.126.204.146 Phone, 69.10?.91.219 Pbone. entail
entail small 76.254.41.180 Phone,

68.12"?.118.133 Pbone¢ 69.108.96.77 Phone small
entail 69.227.70.219 Phorxe 99.183,240.55 Phone,

89.107.102.11 Prione, 71.'139.12.128 Email entail

 

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99.183.242.4? Phone, 24.5,13.184 Ernaii ?3.126.66,211 Email
email 67.161.66.97 Emeii 98.192.186‘87 Ernail
99.183.2¢13.142 i:’honez 6?,166.151.220 Email 98.207.248.39 Emaii
email 67.169.107.114 Email 98.208.108.119 Emaii
99.24.161.31 Phorie, 67.180,56.26 Emali 98.210.218.152 Emaii
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299.23?232.57 Pnone 71.198.158.39 Email 98.234.38.72 Ernaii
68.113.€2.22 Email 71,2024113.106 Ernail 98.234.59,149 Erriail
?4,213_2¢16,188 Ernail 71,2®2.249`178 Emell 98.248.213.208 Emaii
24.23.222.23? Emeil 76.103,48.164 Emeil 68.101,114.52 Email
24.23.6,?3 Ernail 76,126.155.41 Email 72.197.231.3 ` Phone,
2&.4.144.239 Email 75.126.36.154 Email email
9} A list of vdie BitTorrent copyrighi infringement cases involving multipie joined John Doe

Defendants filed plaintiffs counsels law firm or predecessor firm in federal court identify the
case by name, case number, couri, and iiiing dale For each case, indicate how many Doe
Defendants were actuaily served

Alihough our records indicate that we have liled suits against individual copyright infringement
defendants our records indicate that no defendants have been served in the below~listed cases

 

Case Name Case l\lum‘oer Court Fiiing dale
l.ighlspeed idedia Corporaiion v. Does 1~9 4:11~<:\/-~02261 i\lD CA 5/6,/'11
iv’lCGiP. LLC v. Goes 1~9 3:'11~cv~02262 l\lD CA 5!6!11
CP Prodeclioris. lnc. v. Does 1-3@6 1:10-0\1~06255 i\lD ll_ 9329/10
home Biue, inc v. Does 1-30(3 x 1;10-0\/'@6256 ND li. 9!‘29_/10
Firsi "l“ime \!ideoe l_l_C v. Does 1-500 i:iG-ov»G@Q§A ND iL 9/29/’11
l-iaro‘ Drive Produclions, inc.v. Does 1400 i:lO~cv"UE)GOS ND lL 9.»“2."'10
i.ighlspeed Medie Corporelion v. Does 'i-iOO 1;10-0\/~05604 ND ll_ 9/’2,!10
lv'liilenniorn TGA, lnc. v. Does 1-100 1:10“cv-05603 l\iD |l. 9/2/19
in the waller O'l a Petiiiion By ingenuity/13 LLC 2211-mc~00084 ED CA 10/`28,:"11
Peciiic Cen‘iury lnlernaiionel l.ld. v. Does 1»1{}1 4:11-cv~02533 i\lD CA 5./'25/'11
Boy Fieser lnc. v. Does 1~10 1:11~<:\/-00592 SD OH 8!26;‘11
i-iard Drive Prodociions, lnc, v. Does 1"10 1111-cv~02980 ND ll_ 5/4/'11
Boy Racer lnc. v. Does 1~10 3:11-<;\1-00492 WD KY 8/31!11
CP Prodoolions, lnc. v. Does 1-12 3;11-cv~02259 ND CA 5;'6/11
iierd Drive Produclions. lnc. v. Does '1-11 1:11‘0\/-23033 SD Fl. 8!23/11
i-iard Drive Produclions. lnc, v. Does 1-12 1:11~0\/-0@595 SD Ol~i 8/`26./`11
MCG§P. LLC v. Does 1-14 1:11-cv-02887 ND ll_ 4/29;’11
CP Produciions, lnc. v. Does 1-14 1:11~<;\1'22220¢!L SD FL 6,1'17/11
Hard Drive Prodociions‘ lnc. v. Does 1-14 1:11»cv~02981 ND ll_ 5/4/11
Paciiic Ceniury international i_TD v. Does 1-14 1:1i~cv-O3118 ND ll_ 5/10;""11
Boy Heoer lno, v. Does 1-1'/’ 1:1 1-cv~0541€) ND ll. 8,/10!'11
lviCGlP, LLC v. Does 1~316 1:10-¢:\1-06677 l\iD lL 18,/15/10
Hard Drive Prodoclions, lnv, v. Does 1-16 1111-ov-23064 SD FL 8./25/11
Hard Drive Produciions._ inc. v. Does 1»16 1:11-0\/-03108 ND ll_ 5/10/11
VPR lniernaiionaie v. Does 1~17 4:11-cv-01494 ND CA 3!281"11
irirsl Time ‘v'ideos LLC v. Does 1-18 4:11~cv~00969 SD ll\l 6/14!11
l\/lCGlP, LLC v. Does 1»17 3:11“0\1-50062 ND ll_ 3,"9./11
Boy Racer inc. v. Does 14 7 1111 cv'OSOQ'/ ND lL 5,/9./11
VPR lniernalionei v. Does 1'1017 2:11-{:\/‘02068 ND ll_ 3!8!11
Herd Drive Produciions, lnc. v. Does 1-118 4;11-cv‘01567 ND CA 353/11
iierd Srlve Prodociions, lnv. v. Does 1-?8 1211»ov-23032 SD Fl. 8/;23!11

 

 

CaseZ:--61120v00 VVB-SJF
C:ase§ ll-c 33 3-1.6

MCGIP, LLC v.Does1-13

P§nk Lctus Entertainmem LLC v. Does 1»20
MCGZP, LLC v, Does 1-20

Mi’$£ermium TGA, inc, v. Does 1-21
MCG§P, LLC v. Does 1~21

Ha(d Dr§\;e Pro<)’ucti<)ns, lnc. v. Boes 1-21
Hard Dr§ve Produclions, §nv, v. Does 1-20
AF Ho!dings LLC v. Does 120
1v1§11ennium TGA, inc. v. Does 1-21

Bc)y' Racer inst vh Does 1~23

F1r31 T%me \/ideos LLC v. Does 1-23

Boy Fieser ina \/. Does 1»22

MCGH-", LLC v. Does 1»24

Hard Dn\)e Prociucticzns lnc. v, Does 1-25
Openmind Soiutions, inc. v. Does 1~2,925
MCG¥P. LLC v. Does 1~24

Hard Drive Productions, lnc. v. Does 1~24
MC\CS§P LLC v. Does 1-26

Hard Drive Productions, inc. v. Does 1-27
F§rsi 11me \fio‘eos LLC v. Does 1~27

Pac%fic Cemury international Ltd, v. Does 1~129

First Time Videos LLC v. Does 1~23
MCGIP LLC v. Does 1~30

Hard Drive Produc€§ons$ 111\/. v. Does 1~130
A?; Hoi<iings LL,C v, Does 1~29

Harci Drive 131/<)<3111011093z incv v. Does 1~30

Pacif%c century lmerna110nat LTB v. Does 1-31

Hai`d Dzive Producficns, inv. v. Does 1-33
Hard Dr§ve Productions, 1111/1 v. Does 1»32
MCG{P, LLC V. DG€S 1-32

Pac§iic Cen!ury miemaiiona¥ LTD v. Does 1~34

Hard Dr§ve Produc§§ons, §nc. v` Does 1-35
Boy Racer inc v. Does 1-3¢1

AF Ha§dmgs LLC V. Di)es 1-135

Bubb!e Gum Pmo’uclions, LLC v. Does 1~37
F§rsi Time V§deos LLC v. Does 1-37
Opemz'md So¥utic)rzsz mc. v. Does 1~39

F§rst T`:me Videos LLC v. Does 1-541

Hard Drive Product§ons, lnc. v. Does 1~42
Fiers§ Time Videos LLC v. Does 1~43
NECGiP, LLC v. Does 1414

Pac§§§c Century interna§cna( L'FD v. Does 1~44

Hard Dr§\;e Produc‘tions. lnc. v. Does 1-44
P§rz¥< Lotus Emertammem' LLC v. Does 1-46
F§rs1Time Videos LLC v. Does 1-46

Haro` Drive Productions., inc v, Does 1-46

Pacif&c Cemury 1n1ema1ionai, LTD v. Does 1-48

Haro‘ Drive Productions, fnc, v. Does 1-48
Hard Drive Productions, lnc. v. Does 1-48
MCG¥P. LLC v. Does 1419

MCG¥P, LLC v. Does '1~149

Hard Drive Productions, mo v. Does 1~51
ch Racer inc v. Does 2-52

Boy Rac@r inc. v` Does 1»52

Hard Dr§ve onduc?§ons, lnc. \/. Does 1~53

P'mk Lotus Entertainmem LLC v. John Does 1-53

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Case 2:&§'3%\§&&@3 60\§§§§ M' &%@MM.P FFQASMA?M %a§@@@f~@ Of 52

MCG¥P LLC v. Does '1~55

H;»\zd Drive Produciions, inv. v. Does 1-55
Ha.rd Drive Pmds_:ction$< inc vk Doe§ 168
AF Ho§dmgs LLC v. Does M` ,058

Boy Piace¥ inc v. Does 1~6{3

AF Ho!dmgs LLC v. Does 1~62

AF Hoidmgs LLC v. Does 3-162

F§rsl "f"ime V§deos LLC v. Boes 1»63
MCG!P, LLC v. Does §~1,$64

Ham' Drive Pmduc?ions, }nv. v. Does 1468
O;yenm§r‘sd Sofut§ons, lnc, v. Does 1»565
Ha§d Drive Produc'§ions, Snc.\/. Does 1456
Boy Racer me v. Does~: 2~7?

ch Racez’ mc v. Does 1 71

Heartbzeake>r Produc‘{`\ons inc v. Does -71
Boy Rach inc v. Does § 73

F%rsi T§me Videos LLC v. Does 1»76

Ha;'<} Drive Produotéons, Enc. v. Does 1-80
Bubb!e Gum Produci§cns, LLC v. Does 7~80
Ha.“d Drive Product§ons, §nv. v. Does 1784
Paci'fic Cemwy lntemationa! LTD v. Does 1~87
F§tst T§me \/%deos LLC v. Does 1486

Hazd Drive Product§ons, me v. Does 1-87
Har<i Drive Product§ons, mc v, Does 1488
Har<i Drive Productions, inc v. Does 1-87
Haré Drive Productions, mv. v. Does 1-90
F`rst Time \/ideos LLC v Does 7 294

Hard D:ive Produc;tiorzs inv v Does1 1 495
AF Ho£dings LLC v Does 1 96 ‘

AF Ho£dmgs LLC v Does 1 97

Boy Racer mo v. Does 1~98

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